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XBT Holding Limited




Equity Valuation
2 August 2013




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                                                                      Private & Confidential
   The Board of Directors
   XBT Holding Limited
   Gladstonos, 120 Foloune,
   Flat/Office D1
   P.C 3025, Limassol


   2 August 2013

   Dear Sirs,

   Valuation of XBT Holding Limited
   In accordance with the terms of reference set out in our engagement letter dated 18
   February 2013, we hereby enclose our report which contains the valuation of XBT
   Holding Limited (“Client”/”Company”).
   Our report is for your information only and should not be quoted or referred to, in whole or
   in part, without prior written consent. The terms of reference for this report have been
   agreed by you and we will not accept responsibility to any other party to whom the report
   may be shown or who may acquire a copy of the report.
   With this report KPMG Limited (“KPMG”) does not offer and should not be considered to
   be offering any investment advice.
   We remain at your disposal for any clarifications or enquiries required by you that may
   arise from this report.
   Yours faithfully




   Christophoros P. Anayiotos
   Board Member                                                                                   P-G000646
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                                                         Glossary of terms



               CAPEX                     Capital Expenditure                                                                            Group/XBT Group                    XBT Holding Limited group of companies

               CAPM                      Capital Asset Pricing Model                                                                    Ke                                 Cost of Equity

               CRP                       Country Risk Premium                                                                           Kd                                 Cost of Debt

               Client/Company XBT Holding Limited                                                                                       Management                         The management of the Company

                                                                                                                                        P/E                                Price to Earnings Multiple
               D/E                       Debt to Equity

               DCF                       Discounted Cash Flow                                                                           P/EBITDA                           Price to EBITDA Multiple

                                                                                                                                        P/Sales                            Price to Sales Multiple
               DCs                       Developed Countries
                                                                                                                                        Rf                                 Risk-free rate of return
               Discount Rate             Rate at which the future cash flows are discounted in the DCF
                                         Valuation
                                                                                                                                        Rm                                 Market return
               EBIT                      Earnings before interest and tax
                                                                                                                                        SG&A                               Sales, General and Administration Expenses
               EBITDA                    Earnings before interest, tax, depreciation and amortisation
                                                                                                                                        Valuation Date                     31 December 2012
               EGCs                      Emerging Growth Countries
                                                                                                                                        WACC                               Weighted Average Cost of Capital
               ERP                       Equity Risk Premium

               EV/EBIT                   Enterprise Value to EBIT                                                                       $                                  US Dollar

               EV/EBITDA                 Enterprise Value to EBITDA

               EV/Sales                  Enterprise Value to Sales

               FCFE                      Free Cash Flow to Equity

               FCFF                      Free Cash Flow to the Firm



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                                                                      ATTORNEYS' EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                         Basis of preparation


Context and scope of work
■ This report is given in accordance with our agreed written terms of engagement with XBT Holding Limited (hereinafter referred to as “the Client” / “the Company”) dated 18 February
  2013. The scope of our work is to value the equity of the Company including its subsidiaries (“the Group”)
■ In this report, we are not providing an investment advice, nor should we be deemed to be providing an investment advice
■ We only assess the value under a scenario of achieving those numbers. We do not express an opinion not we sought explanation on how the company will achieve the growth and/or
  how it will outperform the market


Sources of information
■    We have indicated within this report the sources of the information presented and have satisfied ourselves, so far as possible, that the information presented is consistent with other
     information which was made available to us in the course of our work in accordance with the terms of our engagement letter
■    This report is based on documents and data provided by the management of the Company (“Management”). We assume that all documents and data provided to us by the
     aforementioned are accurate and complete. We have not scrutinized, tested or reviewed the reasonableness of any of the assumptions used or the figures contained in the financial
     projections, nor do we accept any liability/responsibility for the materialisation of the financial forecasts
■    The assumptions relating to future performance have been provided to us by the Management. Their materialization is extremely crucial to the realization of the expected results.
     KPMG bears no responsibility as to the accomplishment of any of the assumptions made and this remains the sole responsibility of the Management
■    In preparing this report we also used publicly available data posted on official websites on the internet. We have sought to establish where possible, the reliability of major
     assumptions through market statistics and research both from public and private domains. Specifically, we utilised information provided from the Management, the internet, KPMG
     network, research databases and KPMG’s past experience
■    Our report makes reference to “KPMG Analysis”; this indicates only that we have (where specified) undertaken certain analytical activities on the underlying data to arrive at the
     information presented


Disclosure to third parties
■    Our report is provided exclusively for the benefit of the Client and should not be copied, quoted or referred to in the whole or in part without our prior written consent. We will not
     accept responsibility to any other party to whom our report may be shown or who may acquire a copy of it
■    Our engagement was not planned or performed in contemplation of reliance by other parties or advisors. Therefore, items of possible interest to investors, lenders or advisors may
     not have specifically been addressed
■    Should you request that we make our report available to any other party, or parties, and should we agree to such request in writing, the party, or parties, will be required by us to sign
     and return to us a letter of non reliance (“hold harmless letter”) prior to us permitting release of our report




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                                                         Basis of preparation


Basis of preparation
■    The present report refers only to the specific items and areas as specified in our engagement letter
■    Having completed our work as set out in the above-mentioned engagement letter we present our report, which sets out our findings and conclusions
■    This report should not be used for financial reporting purposes
■    The amounts quoted in this report are presented in Dollars ($)




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Executive
summary




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                                                         Executive summary
                                                              ATTORNEYS' EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                         Key findings



 Issue                                     Summary observations                                                                                                                         Key analysis

 Overview of the Group                     The Group operates in the data centre industry focusing in the provision of high quality web hosting services and data storage                   Page 10
                                           Company operates in:
                                           ■ Europe (Webzilla Ltd, Webzilla B.V., TM Web Properties Ltd, ROOT S.A.)
                                           ■ US (Webzilla Inc, IP Transit Inc., UCDN Inc., Dedicated Servers Inc., Fozzy Inc., 1GB.COM Inc. 1-800-Hosting Inc.)
                                           ■ Asia (8 to Infinity Ltd, Ibee Software Solutions Pvt.)
                                           The Group aims to continue its expansionary strategy by following organic growth and/or acquisitions in the data centre industry. By 2016,
                                           the Company plans to go public.

 Market Analysis                           ■ The data centre industry has performed quite strongly in 2012                                                                                  Page 16
                                           ■ The whole data centre industry has faced high levels of revenue growth in the past few years and this is expected to continue over the
                                             next 3 to 4 years
                                           ■ The Group had a higher revenue growth rate compared to its peer group during 2010 and 2011. However, in 2012 the growth in
                                             Group’s revenue was below the revenue of its peer group. As per the Management, the growth rates of the Group are expected to be
                                             above the industry competitors until 2015 mainly due to its marketing department development in European-locates companies and
                                             the aggressive cost effective strategies followed by the Asian operations, aiming to acquire almost all market share by 2015

 Expected Performance                      ■ Under the Organic Growth scenario, in 2013, Management expects revenue to reach $43,7 million, which would represent an increase               Page 19
 (Organic Growth)                            of 32,0% compared to 2012 ($33,3 million). Revenue is expected to increase further during the period 2014 to 2015, reaching the
                                             amount of $62,8 million
                                           ■ EBITDA stood at $9,8 million in 2012 and is expected to increase by 92,0%, reaching $18,8 million by 2013 and $30,7 million by 2015
                                             (increase of 63,6% compared to 2013)
                                           ■ The service portfolio is expected by Management to mainly concentrate on dedicated servers and bandwidth services
                                           ■ Operating expenses in 2012 amounted to $6,4 million and mainly composed of staff costs and general administration expenses.




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                                                         Executive summary
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                                                         Key findings


                                                                                                                                                                                           Key
 Issue                      Summary observations                                                                                                                                       analysis

 Expected                   ■ Under this scenario, the Management assumes that additional revenue of $19,0 million will be generated by acquiring a total of six companies in          Page 30
 Performance                  the data centre industry by 2016 as part of their acquisition strategy. This strengthening of revenue is expected to continue at an even higher rate
 (Acquisition                 reaching $111,3 million by 2016. Co-location and managed hosting services are the most significant sources of revenue
 Growth)
                            ■     In 2013, EBITDA is estimated at $2,0 million and is expected to grow to $24,3 million by 2016
                            ■ Salaries & benefits are expected to account more than 50% of the operating expenses under the acquisition growth scenario from 2013 to 2016,
                              a total of $4,2 million to $22,5 million, respectively
                            ■ It is assumed that approximately $107,2 million will be spent on capital expenditure and $60,5 million on investment in acquisitions over the
                              projected period 2013 to 2016. However, only $40,7 million will be obtained through debt to finance these costs, with the remaining balance
                              financed through the Group’s own operating funds


 Valuation                  The valuation methodologies used are:                                                                                                                      Page 33
 Methodology
                            ■ Economic Methods - Discounted Cash Flow Analysis
                            ■ Relative Valuation - Comparable Multiples
                            ■ Relative Valuation - Comparable Transactions
                            The different valuation methods imply different complexity. The DCF valuation aims to analyse the potential of a company through its expected
                            performance, the relative valuation will deduce a value of the company based on recent performance and valuations of comparable companies and
                            transactions that have taken place in the industry.




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                                                         Executive summary
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                                                         Key findings


                                                                                                                                                                                           Key
 Issue                    Summary observations                                                                                                                                         analysis

 Valuation                Discounted Cash Flow Analysis                                                                                                                                Page 37
 Results
                          ■ For the Organic Growth scenario, four different DCFs were performed based on: (1) European-located companies, (2) US-located companies, (3)
                            Asia-located companies and (4) Group Consolidated
                                       •    The Equity Value for the European operations is between the range of $73,0 million to $86,6 million
                                       •    The Equity Value for the US operations is between the range of $140,8 million to $170,9 million
                                       •    The Equity Value for the Asia operations is between the range of $23,7 million to $27,4 million
                                       •    The Equity Value for the Group is between the range of $237,6 million to $284,1 million
                          ■ For the Acquisition Growth scenario, the Equity Value ranges between $147,1 million to $193,0 million
                          Comparable Companies
                          ■ All multiples found under comparable companies multiples analysis are lower than the ones implied by the intrinsic cash flow analysis under
                            Organic and Acquisition Growth scenarios
                          ■ Marketability discount in the range 20-30% was used to reflect the fact that the Company being valued is private and does not have shares traded
                            in a public exchange
                          ■ All relative multiples yield valuation results that are significantly below the results obtained from the DCF methodology
                          ■ Six main recent deals have been identified and used to derive the value based on comparable transactions
                          ■ The equity valuation of the Group based on trailing multiples under Organic Growth ranges between $76,1 million to $158,1 million, while the value
                            resulted using forward multiples ranges from $127,3 million to $251,7 million. The value of the Group under Acquisition Growth scenario ranges
                            between $111,6 million to $287,3million.
                          Valuation Results
                          ■ The concluded valuation of the Group under Organic Growth scenario ranges from $200 million to $260 million. The concluded equity value
                            under Acquisition Growth results to a range of $150 million to $210 million.




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Overview of the
Group




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                                                         Overview of the Group
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                                                         Group Structure


XBT Holding Limited has                                                                                                                         XBT Holding
                                                                                                                                                  Limited
operations in:
                                                                                                                                                 (Cyprus)
−Europe

−US
                                                                                    Europe Operations                                        US Operations                               Asia Operations
−Asia

                                                                                                                                                Webzilla Inc.              100%   100%   8 to Infinity Ltd
                                                                                       Webzilla Ltd               100%
                                                                                                                                                 (USA) FL                                  (Singapore)
                                                                                        (Cyprus)

                                                                                                                                               IP Transit Inc.             100%   70%     Ibee Software
                                                                                                                      100%
                                                                                      Webzilla B.V.                                                (USA)                                  Solutions Pvt.
                                                                                      (Netherlands)                                                                                         Ltd (India)

                                                                                                                                                                           95%
                                                                                         TM Web                       100%                       UCDN Inc.
                                                                                      Properties Ltd


                                                                                                                                                 Dedicated                 100%
                                                                                                                      50%
                                                                                        ROOT S.A.                                               Servers Inc.
                                                                                      (Luxembourg)

                                                                                                                                                                           100%
                                                                                                                                                  Fozzy Inc.



                                                                                                                                                                           100%
                                                                                                                                               1GB.COM Inc.



                                                                                                                                               1-800-Hosting               100%
                                                                                                                                                    Inc.


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                                                         Overview of the Group
                                                              ATTORNEYS'  EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                         Group Operations


XBT Holding Limited is the                               General Information & Operations                                                                          According to Management, the Group follows a global operational
parent entity of fifteen                                                                                                                                           strategy with an attempt to differentiate its product offering through
                                                         XBT Holding Limited (“the Client”, “the Company”) was incorporated in
companies based in the US,                               April 2010 in Cyprus as a private limited company. It is the parent entity                                state-of-the-art technologies, high service quality and system reliability
Europe and Asia.                                         of fifteen companies based in the US, Europe and Asia (“Group”).                                          in the emerging world similar to that being offered in the developed.
                                                                                                                                                                   Management accounts for their growth potential on referrals by
                                                         The Group operates in the data centre industry focusing in the                                            satisfied business customers rather than extensive advertising
The Company operates in
                                                         provision of high quality web hosting services and data storage. It is a                                  techniques.
the data centre industry                                 carrier-neutral independent data centre with business wholesale as the
focusing in the provision of                             majority customer base. It is connected to multiple Tier 1 major                                          One of the main strategic development of the holding is to increase
high quality web hosting                                 providers which enables it to achieve a high speed data transfer. Its                                     their presence on Emerging Markets, as confirmed by the 100%
                                                         equipment and servers are from world renowned producers such as                                           acquisition of one of Asia’s largest hosting providers (8 to Infinity) in the
services and data storage.
                                                         Dell and Cisco. The services provided include:                                                            second quarter of 2012.
The Company is planning to                               ■    Internet services such as provision of managed network services,                                     The Company is planning to further expand by acquiring other web
further expand by acquiring                                   IP transiting, transport peering and content delivery networking                                     hosting companies Asia.
other web hosting                                        ■    Bandwidth
companies in Asia.                                       ■    Co-location
                                                         ■    Equipment sale
                                                         ■    Managed servers (rent/leasing)
                                                         ■    Virtual/cloud computing
                                                         ■    Value added services such as monitoring systems, guaranteed no-
                                                              break servers functioning, security, business continuity
                                                              management, 24/7 technical support, software as a service (SaaS)
                                                              and so on.




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                                                         Overview of the Group
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                                                         Management & Strategy

                                                       Strategy
The Group aims to continue                                                                                                                                         Acquisition growth besides operational efficiencies aims to offer
                                                       The Management of the Group wishes to focus in the provision of the                                         revenue and cost synergies, tax benefits, accelerated growth and
its expansionary strategy by
                                                       aforementioned services to business customers and aims to grow in                                           capture of market share through elimination of competition,
following organic growth                               the next four years through organic growth and/or acquisitions both in                                      diversification and international business especially by acquiring small
and/or acquisitions in the                             Europe, US and Asia as well as in several emerging and developed                                            emerging market companies.
data centre industry.                                  countries.                                                                                                  Investors’ Exit Options
                                                       Organic Growth Strategy                                                                                     As part of the long term strategic planning, Management have provided
Investors’ exit options in
                                                       The first strategic growth approach is through organic growth. The                                          three exit options in a time horizon of four years, i.e. by 2016. These
2016 would either be a trade                                                                                                                                       are listed below:
                                                       Group aims to continue its expansionary business strategy by targeting
sale or a sale to a strategic
                                                       new business customers and at the same time maintaining the existing                                        ■       IPO on stock exchange market
partner or a private equity                            client base. Furthermore, when new contracts are negotiated with
                                                                                                                                                                   ■       Sale to a strategic buyer
group.                                                 existing clients, the margin usually would go up as they believe they
                                                       would be able to negotiate better terms.                                                                    ■       Sale to a private equity group
                                                       The Group hopes to serve its global client needs by serving the role of
                                                                                                                                                                    Key Milestones
                                                       a one-stop shop. The focus clients for the Group in 2012, as
                                                       Management suggests, are the regional, ‘forex’ and gaming online
                                                       platforms.                                                                                                                     2010                            2016
                                                                                                                                                                                      XBT Holding Ltd                 Strategic Withdrawal
                                                       Organic growth will offer a number of different advantages such as                                                             incorporated                    IPO, Sale
                                                       market recognition, cultural harmony, quality and innovation, control
                                                       and confidence of the success trends of the past.
                                                       Acquisition Growth Strategy
                                                       The other growth plan of the Group is through acquiring businesses in
                                                                                                                                                                       2005                            2012-2015
                                                       developed and emerging growth regions. This aims to provide an
                                                                                                                                                                       Webzilla founded                Expansionary
                                                       improvement in the quality and expansion potential of the current data
                                                                                                                                                                                                       Strategy
                                                       centre facilities of the Group.
                                                       This would be achieved by targeting positive but low EBITDA data
                                                       hosting companies in the target countries with an annual growth
                                                       potential of 20% or more.




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                                                         Overview of the Group
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                                                         Operations (1/2)


A high proportion of the                                                                                                                                            Current Revenue Distribution - Physical
                                                          2012 Revenue Distribution - Legal Entity Type
revenue is generated from                                                                                                                                           Location of Client
                                                                                               3% 1%
Webzilla Inc and Webzilla
Ltd, legal entities registered                                                   1%       8%                                                                                                            3%
                                                                                                                                                                                                   3%
                                                                                                                                                                                              4%
in USA and Cyprus                                                                                                                                                                        4%                           24%
respectively, accounting for                                                                                       41%
                                                                                                                                                                                    6%
72% of the revenue.
                                                                                 31%                                                                                            10%

                                                                                                                                                                                                                        13%

                                                                                                                                                                                     10%
                                                                                                   6%        5%
                                                                                                                  2%
                                                                                                                                                                                                                12%
                                                                                                        2%                                                                                         11%

                                                                Webzilla Inc                                       Dedicated Servers Inc
                                                                IP Transit Inc                                     UCDN Inc                                                Others                  Hong Kong          BVI
                                                                Fozzy Inc                                          1 GB.COM Inc                                            Cyprus                  Seychelles         USA
                                                                1-800-Hosting Inc                                  Webzilla Ltd
                                                                Webzilla B.V                                       Root S.A
                                                                TM Web Properties Ltd                              8 to infinity Ltd
                                                                Ibee Software Solutions Pvt. Ltd
                                                                  Source:   Management


                                                               Revenue
                                                               Revenue Mix – Legal Entity Type
                                                               The distribution of revenue for the Group split by legal entity type for 2012 are depicted in the pie chart on the top left. Webzilla Inc
                                                               (USA) and Webzilla Ltd (Cyprus) account for 71,1% of the revenue.
                                                               Revenue Mix – Client Geographical Location
                                                               The chart on the right shows the geographical mix of revenue based on the clients’ location. 13% of the revenue arise from clients in
                                                               Hong Kong, 12% from BVI and 11% from Cyprus. Subsidiaries in the “Other” category include India, UK, Lebanon, Czech Republic
                                                               and Canada and these amount to 24% of the revenue.




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                                                         Overview of the Group
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                                                         Operations (2/2)


All Group companies have                                 XBT Group of Com panies
reported profits in 2012.                                                                                                                                          The table shows the comprehensive income split by legal entity
                                                         Analysis of net profit by com pany                                                                        type, as provided by Management for 2012.
                                                         Legal Entity                                                                                  $'000
The Group’s comprehensive                                                                                                                                          Total Income of the Group stood at $3,7 million in 2012.
                                                         Europe Operations
income for 2012 is $3,7                                  Webzilla Ltd                                                                                   (76)
million.                                                 Webzilla B.V.                                                                                 (165)
                                                         TM Web Properties Ltd                                                                       (3.453)
                                                         ROOT S.A.                                                                                      261
                                                         XBT Holding Ltd                                                                               (215)
                                                         Total Europe                                                                                (3.647)
                                                         US Operations
                                                         Webzilla Inc.                                                                                  (56)
                                                         IP Transit Inc.                                                                               (432)
                                                         USDN Inc.                                                                                      (68)
                                                         Dedicated Servers Inc.                                                                          21
                                                         Fozzy Inc.                                                                                     327
                                                         1 GB.COM Inc.                                                                                  160
                                                         1-800-Holding Inc.                                                                             (60)
                                                         Total US                                                                                      (107)
                                                         Asia Operations
                                                         8 to Infinity Ltd                                                                               14
                                                         Ibee Softw are Solutions Pvt. Ltd                                                              (25)
                                                         Total Asia                                                                                      (0)
                                                         Consolidated Com prehensive Incom e                                                         (3.754)
                                                         Note: In all companies intercompany revenues w ere deducted and
                                                         intercompany costs & expenses w ere added back on Net Profit
                                                         Source: Management




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Market Analysis




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                                                         Market Analysis EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                              ATTORNEYS'
                                                         Comparable Companies (1/2)


All comparable companies                                Data Centre Companies
selected reported positive
                                                                                                                                                                             Market Cap Revenue      EBITDA EBITDA Net Incom e Net profit
net profits in 2012, with                               Com pany                                                                                                           (31 Dec 2012) (2012 AR) (2012 AR) m argin (2012 AR)   m argin
Dupont Fabros Technology,                                                                                                                                                      $ m illion   $ m illion   $ m illion       %   $ m illion       %
Equinix Inc and Interxion                               Akamai Technologies Inc                                                                                                   7.260        1.374          519     37,8%        204     14,8%
Holding Nv showing the                                  Dupont Fabros Technology                                                                                                  1.529          332          201     60,5%          53    16,0%
strongest performance.                                  Equinix Inc                                                                                                              10.027        1.896          818     43,1%        145      7,6%
                                                        Interxion Holding Nv                                                                                                      1.614          356          140     39,3%          41    11,5%
The M&A activity in the data                            Iomart Group Plc                                                                                                            326            53           17    32,1%          10    18,9%
centre industry for 2012 has                            Rackspace Hosting Inc                                                                                                    10.171        1.309          423     32,3%        105      8,0%
                                                        Total                                                                                                                    30.927        5.320        2.118                  558
been quite high.
                                                         Source: Bloomberg
                                                         Note: 'AR' stands for Annualised Revenues based on the interim data available



                                                       The table shows the major listed market players in the “data centre” industry.
                                                       The biggest company (based on market capitalisation) at the end of 2012 was Rackspace Hosting Inc with a total value of $10,2 billion.
                                                       All companies reported positive net profits in 2012, with Dupont Fabros Technology, Equinix Inc and Interxion Holding Nv showing the strongest
                                                       performance based on EBITDA margin of 60,5%, 43,1% and 39,3% respectively.
                                                       Transactions
                                                       The M&A activity in the data centre industry for 2012 has been quite high. Equinix’s acquisitions are included in the most important transactions
                                                       for 2012. 1
                                                       The section on comparable transactions looks at the valuation results from the relative multiple transactions based on recent comparable
                                                       transactions (“CoTrans”).




                                                         1 http://www.datacenterknowledge.com/archives/2012/12/21/the-big-ma-deals-of-2012/




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                                                                 Market Analysis EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                                      ATTORNEYS'
                                                                 Comparable Companies (2/2)


The whole data centre                                                  Revenue Y/Y Growth - Historical                                                             Revenue Growth
industry has faced high                                                200%                                                                                        The year-on-year revenue growth for the peer group companies
levels of revenue growth in                                                                                                                                        compared to the historic and expected revenue growth rates of the
                                                                       150%
the past few years and this                                                                                                                                        Group are shown in the two charts on the left. The top chart shows the
is expected to continue over                                           100%                                                                                        growth rates for the historic periods until 2012 and the bottom chart
                                                            % Growth




                                                                                                                                                                   depicts the projected and forecasted revenue up to 2018.
the next 3 to 4 years                                                   50%
                                                                                                                                                                   The average year-on-year historic revenue growth stood at 29,6% for
                                                                         0%                                                                                        the peer companies for the period 2008 to 2012, and 25,3% for the
                                                                                                                                                                   period 2010-2012. On the other hand, the historic average of XBT
                                                                        -50%
                                                                                                                                                                   Group amounted at 79,6% for the period 2010-2012.
                                                                       -100%                                                                                       It is evident that the Group has had a higher growth rate in revenue
                                                                               2008          2009             2010           2011            2012                  compared to the peer group over 2010 and 2011. However, the Group
                                                                                  AKAMAI TECHNOLOGIES INC               DUPONT FABROS TECHNOLOGY                   had the least revenue growth (i.e. 2%) during 2012. The growth rates
                                                                                  EQUINIX INC                           INTERXION HOLDING NV
                                                                                  IOMART GROUP PLC                      RACKSPACE HOSTING INC                      of the Group are expected to be above the industry competitors until
                                                                                  XBT GROUP
                                                                                                                                                                   2015 according to Management’s forecast. We did not check the
                                                      Source: Bloomberg (Historical Data)                                                                          assumptions or express any opinion on the assumptions used under
                                                                                                                                                                   the two different scenarios. Based on Bloomberg consensus estimates,
                                                                 Revenue Y/Y Growth - Forecasts                                                                    Rackspace Holding Inc is expected to have revenue growth of 19,1% in
                                                                                                                                                                   2015 compared to 2014, while, based on Management estimates, the
                                                                       75,0%                                                                                       Group is assumed an acquisition growth of 34% in 2015 compared to
                                                                       280%
                                                                       65,0%
                                                                                                                                                                   2014.
                                                                       55,0%                                                                                       In general, a feature of the whole industry is the high levels of revenue
                                                                                                                                                                   growth in the years to come.
                                                      % Growth




                                                                       45,0%

                                                                       35,0%

                                                                       25,0%

                                                                       15,0%

                                                                        5,0%

                                                                       -5,0%
                                                                               2013         2014            2015      2016            2017             2018
                                                                                 AKAMAI TECHNOLOGIES INC                     DUPONT FABROS TECHNOLOGY
                                                                                 EQUINIX INC                                 INTERXION HOLDING NV
                                                                                 IOMART GROUP PLC                            RACKSPACE HOSTING INC
                                                                                 XBT GROUP (acquisition)                     XBT GROUP (organic)

                                                     Source: Bloomberg (Consensus Forecasts)

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Expected
Performance




                                                                            P-G000664
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                                                         Expected Performance
                                                              ATTORNEYS'      – Consolidated
                                                                         EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                         Consolidated Income Statement – Organic Growth (1/3)


Under the Organic Growth                                 The table below shows the actual and projected consolidated income statement of the Group for a period of seven years from 2009 up to 2015 as
                                                         provided by Management. As discussed earlier in the report, there are two different scenarios being considered; the organic growth and the
scenario, Management
                                                         acquisition growth under three different geographic regions, Europe, US and Asia. The operations in Asia was introduced in 2012. This section
expects that 2013 revenue of                             examines the Organic growth scenario, which assumes that the Group would follow an organic (internal) growth strategy.
the Group is expected to
increase by 31,2% compared
                                                          Consolidated Incom e Statem ent (Organic Grow th)
to 2012 due to advertising
                                                                                                                            2009A                 2010A                2011A     2012A       2013E       2014E      2015E
and promotion of their                                                                                                       $'000                 $'000                $'000     $'000       $'000       $'000      $'000
services. The Group did not                               Co-location                                                           -                2.248                 3.381      2.366      3.176       3.752     10.429
have a marketing team                                     Dedicated Servers                                                     -                4.462                10.092         20     24.799      31.444     26.873
before 2012.                                              Bandw idth                                                            -                8.566                18.210     19.970     15.678      17.799     23.036
                                                          Equipments Sale                                                       -                1.637                 5.567      1.498          -           -      2.460
Revenue is expected to                                    Other Revenue                                                         -                   73                     -      9.267         59         115          -
increase further during the                               Revenue                                                           6.940               16.986                37.250     33.121     43.712      53.110     62.798
                                                          Cost of Sales                                                    (6.573)             (12.837)              (21.153)   (16.909)   (16.343)    (18.672)   (22.862)
period 2014 to 2015,
                                                          Gross Profit                                                        367                4.149                16.097     16.212     27.368      34.438     39.936
reaching the amount of $62,8
                                                          Gross Profit %                                                     5,3%                24,4%                 43,2%      48,9%      62,6%       64,8%      63,6%
million.                                                  Operating Expenses                                                 (701)              (1.684)               (2.328)    (6.437)    (8.596)     (8.814)    (9.225)
                                                          EBITDA                                                             (334)               2.465                13.769      9.776     18.773      25.624     30.711
EBITDA is expected to
                                                          EBITDA %                                                          -4,8%                14,5%                 37,0%      29,5%      42,9%       48,2%      48,9%
amount to $18,8 million in                                Depreciation & Amortisation                                           -               (1.460)               (2.233)    (5.267)    (4.840)     (5.586)    (5.864)
2013 and reach an amount of                               EBIT                                                               (334)               1.005                11.536      4.509     13.933      20.038     24.847
$30,7 million by 2015.                                    Finance Expenses                                                   (112)                (111)                 (795)      (557)      (706)       (840)      (881)
                                                          EBT                                                                (446)                 894                10.741      3.952     13.227      19.199     23.965
                                                          Corporate Income Tax                                                  -                    -                   (47)      (200)    (1.241)     (3.969)    (5.018)
                                                          Profit/(loss) for the year                                         (446)                 894                10.694      3.752     11.986      15.230     18.947
                                                           Source:   Consolidated Financial Statements 2009-2012, Management Projections 2013 - 2015




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                                                         Expected Performance
                                                              ATTORNEYS'      - Consolidated
                                                                         EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                         Consolidated Revenue Analysis – Organic Growth (2/3)


The Company started new                                                                                                                                                               Revenue/Margins
                                                              Revenue, Gross & EBITDA margins
operations in Asia in 2012.                                                                                                                                                           ■    The Consolidated Revenue generated from companies located in Europe,
                                                                    70.000                                                                      64,84%                         70%
                                                                                                                                      62,61%
                                                                                                                                                                63,59%                     US and Asia is expected to increase from $43,7 million in 2013 to $62,8
By 2015 it is expected that                                         60.000                                                                                      62.798         60%         million in 2015 (43,7% increase)
                                                                                                                     48,95%                      48,25%
55% of the revenue will be                                                                                                                                                     50%    ■    Gross profit margin is expected to improve from 2013 to 2014, followed by
                                                                    50.000                            43,21%                          42,95%
located in the US, 38% in                                                                                                                        53.110             48,90%                 a decrease in 2015
                                                          $'000




                                                                                                                                                                               40%
                                                                                                              36,96%
                                                                                                              3
                                                                                                              36,96%29,51%
                                                                                                                     29,51% 43.712
                                                                    40.000                                                                                                            ■    Management expects EBITDA margins to follow suit, due to operational
Europe and 7% in Asia.                                                                                                                                                         30%
                                                                    30.000
                                                                                             24,42%
                                                                                                42%
                                                                                                                                                     28,68%
                                                                                                                                                                30,17%                     efficiencies in the costs and negotiating power over clients in renewing
                                                                                                           28,71%
                                                                                                                %      33.121         27,42%
The service portfolio is                                                                     14,51%
                                                                                             14  1%                                                                            20%         their contracts, reaching EBITDA margin of 48,9% by 2015
                                                                    20.000                                 37.250
                                                                                 5,29%
                                                                                   29%                                                                                         10%    ■    The Company started new operations in Asia in 2012
expected by Management to                                                                     5,26%
                                                                                              5 26
                                                                                                 6%
                                                                                                                        11,33%
                                                                    10.000                   16.986
                                                                                             1                                                                                 0%     ■    By 2015 it is expected that 55% of the revenue will arise in the US, 38% in
mainly concentrate on
                                                                         -
                                                                                 6.940
                                                                                   9 40
                                                                                   94
                                                                                                                                                                               -10%
                                                                                                                                                                                           Europe and 7% in Asia
dedicated servers and                                                            2009         2010          2011        2012          2013           2014           2015              Revenue Mix – Services Portfolio
bandwidth services.                                                                       Revenue                                                    Gross Margin %                   ■    Management expects that the main focus would be on dedicated servers
                                                                                          EBITDA Margin %                                            Net Profit %                     ■    Bandwidth is also a significant source of revenue, representing on
                                                                                                                                                                                           average 36% of the total revenue
                                                                                                                                                                                      ■    In 2015 it is expected that there will be a change in the revenue mix in
                                                              Revenue per legal entity location
                                                                                                                                                                                           relation to Co-location and Dedicated Servers. In particular, revenue from
                                                                       70.000                                                                                                              Co-location is expected to increase to 16% as a result of a more intensive
                                                                                                                                                                           4.670           promotion in Europe and US, while Dedicated Servers revenue is
                                                                       60.000
                                                                                                                                                            4.670
                                                                                                                                                                                           expected to decrease to 44%
                                                            $'000




                                                                       50.000
                                                                                                                                             2.836
                                                                       40.000                                                                                              34.198         Revenue Service Mix – Organic Growth
                                                                                                                            1.410                           28.498
                                                                       30.000                                                             24.781
                                                                                                               22.501                                                                          2012A                     2013E                2014E                2015E
                                                                                                                           18.325                                                                             0%                 7% 0%                  7%   4%
                                                                       20.000
                                                                                                                                                                                                     7%
                                                                                                  11.409                                                                   23.931
                                                                       10.000        2.580                                                                  19.942                                                                                                   16%
                                                                                                               14.749      13.385         16.095
                                                                                     4.360         5.577                                                                                     33%                   36%                   34%                 36%
                                                                             0
                                                                                     2009          2010         2011           2012          2013           2014           2015
                                                                                                                                                                                                                            57%                   59%                 44%
                                                                                                                                                                                                      60%


                                                                                          Asia Operations           US Operations              Europian Operations
                                                                                                                                                                                               Co-location   Dedicated Servers    Bandwidth    Equipment Sale and other revenue
                                                        Source:        Management

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                                                         Expected Performance
                                                              ATTORNEYS'      - Consolidated
                                                                         EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                         Consolidated Cost Analysis – Organic Growth (3/3)


Operating expenses are                                                                                                                                             Operating Expenses
                                                            Operating expenses
expected to increase by                                                                                                                                            ■       Operating expenses for 2012 amount to $6,4 million and are
                                                                10.000                                                                9.225
                                                                                                                                                                           expected to increase by 33,5% in 2013. By 2015 operating
                                                                                                                      8.596   8.814
33,5% in 2013 compared to                                                                                                                                                  expenses are expected to reach an amount of $9,2 million
previous year. The increase                                         8.000
                                                                                                           6.437                                                   ■       The sales & marketing expenses is expected to increase in 2015
in 2012 operating expenses                                                                                                                                                 in relation to the 2012 figure. The marketing department of the
                                                                    6.000
                                                            $'000




in relation to 2011 is due to                                                                                                                                              European operations was first set up in 2013. Similarly, the
                                                                                                                                                                           marketing department in US was set up in 2012 in an attempt to
the set up of the US                                                4.000                                                                                                  gain back the lost customer base caused by the closure of
                                                                                                   2.328
Marketing department.                                                                      1.684                                                                           Megaupload closure in January 2012. This was achieved mainly
                                                                    2.000                                                                                                  by promoting bandwidth services. In Asia operations,
Similarly, in 2013 operating                                                     701
                                                                                                                                                                           Management plans to follow an aggressive marketing strategy
expenses increased due to                                                -                                                                                                 following its expansion plans
                                                                                2009   2010        2011    2012    2013       2014    2015
the set up of Europe’s
Marketing department.

                                                                    Source:   Management




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                                                          Expected Performance
                                                               ATTORNEYS'      - Europe
                                                                          EYES ONLY  PURSUANT TO PROTECTIVE ORDER
                                                          Revenue & Cost Analysis – Organic Growth


Revenue generated from
                                                         Revenue, Gross & EBITDA margins                                                                   Revenue Service Mix – Organic Growth
Europe-location companies
                                                                                                                                                               2012A                       2013E               2014E                  2015E
is expected to increase by                                     30.000                                                           73,14%    74,00%    80%
                                                                                              67,52%                   68,25%
20,2% in 2013 compared to                                                                                                                           70%
                                                                                                              59,16%                      23.931                                                                   10%                   10%
                                                               25.000
                                                                                                                                                    60%
previous year, reaching a                                                                          54,03%                        51,07%                                                              10%
                                                                                                                                          54,69%    50%
                                                               20.000                                       52,37%     41,28%                                                                              24%                  24%
total of $23,9 million in 2015.
                                                       $'000




                                                                                                                                                             22%                     24%
                                                                                    31,40%       47,41%                         19.942              40%                    24%
                                                                                                              30,31%
                                                               15.000                                                  16.095                       30%
Main sources of revenue will                                                                     14.749                                    27,91%
                                                                                     16,75%                                                         20%
                                                                          8,12%                                                 22,75%                                                        66%                      66%               66%
be from dedicated servers                                      10.000
                                                                                                                                                    10%
                                                                                                                                                                54%
                                                                                        13,04%                         15,95%
                                                                                                            13.385
and bandwidth services.                                                   -6,10%                                                                    0%
                                                                5.000
                                                                                      5.577
                                                                           4.360                                                                    -10%
Total operating expenses are
                                                                    -                                                                               -20%
expected to increase from                                                   2009       2010      2011        2012      2013     2014      2015             Co-location           Dedicated Servers         Bandwidth         Equipments Sale

2013 to 2015, on average by                                                        Revenue                                       Gross Margin %
                                                                                   EBITDA Margin %                               Net Profit %
3,2% annually.
                                                                Source:   Management

                                                          Revenue/Margins
                                                          ■       Revenue generated from Europe-location companies is expected to increase by 20,2% in 2013 compared to previous year, reaching a total
                                                                  of $23,9 million in 2015. As per the Management, the revenue increase would be the result of the introduction of the marketing department in
                                                                  2013
                                                          ■       Gross profit margin is also expected to improve over time due to the cost optimization strategy
                                                          ■       Management expects EBITDA margins to follow suit, due to operational efficiencies in the costs and negotiating power over clients in
                                                                  renewing their contracts, reaching EBITDA margin of 54,7% by 2015.
                                                          Refer to Appendix 2 for the Income Statement of European operations.

                                                          Revenue Mix – Services Portfolio
                                                          ■       Dedicated servers steadily has 66% of total 2013 revenue
                                                          ■       Bandwidth services grows from 17% to 24% in 2013 compared to 2012
                                                          ■       Operating expenses grows by 3,2% per annum from 2013 to 2015



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                                                           Expected Performance
                                                                ATTORNEYS'      - US PURSUANT TO PROTECTIVE ORDER
                                                                           EYES ONLY
                                                           Revenue & Sales Analysis – Organic Growth


Revenue from US-location                            Revenue, Gross & EBITDA margins
                                                                                                                                                      Revenue Service Mix – Organic Growth
companies is expected to
increase by 35,2%, 15% and                                     40.000                                                                          70%              2012A                          2013E                    2014E                    2015E
                                                                                                                 58,09%    57,67% 55,00%
                                                                                                                                               60%
20% in 2013, 2014 and 2015                                     35.000
                                                                                                       44,53%                                  50%                                                                       1%     6%
                                                                                                                            44,22%                                -3% 7%                                                                          3%
respectively compared to                                       30.000                                             43,59%                                                                          6%
                                                                                                                                     43,23%    40%
                                                       $'000




previous year.                                                 25.000
                                                                                             27,28%                        29,62%
                                                                                                                                               30%                                                                                                     20%
                                                               20.000             21,02%                         33,87%               29,29%
                                                                                             25,78%                                                                                      46%                      43%
Total operating expenses are                                                                            10,96%             28.498              20%                                                                                       42%
                                                               15.000                                            24.781
expected to increase from                                                 0,50%    13,42%     16,45%                                 34.198    10%                                                     48%                     50%
                                                               10.000                                   -1,91%                                                  90%                                                                                     35%
                                                                                     1,46%                                                     0%
2013 to 2015, on average by                                             -4,19%                          18.325
                                                                5.000        -6,98%          22.501                                            -10%
5,8%.                                                                      2.580
                                                                                    11.409
                                                                    -                                                                          -20%      Co-location       Dedicated Servers   Bandwidth     Equipments Sale and other revenue
                                                                          2009      2010      2011      2012      2013     2014      2015

                                                                                  Revenue                                   Gross Margin %
                                                                                  EBITDA Margin %                           Net Profit %

                                                           Source:      Management, KPMG Analysis




                                                           Revenue/Margins
                                                           ■       Revenue from US-location companies are expected to increase by 35,2%, 15% and 20% in 2013, 2014 and 2015 respectively compared
                                                                   to previous year. Management expects to recover the lost customer base caused by the closure of Megaupload in 2012
                                                           ■       Gross margin, EBITDA and Net profit margins are expected to decline in 2015 by 4,6%, 2,2% and 1,1% respectively, in relation to the
                                                                   previous year
                                                           Note that Appendix 2 includes the projected Income Statement of the companies located in US for the period 2013 to 2015 as well as the
                                                           historic figures from 2009 to 2012.
                                                           Revenue Mix – Services Portfolio
                                                           ■       Bandwidth and Dedicated servers are the most significant sources of revenue
                                                           ■       Total operating expenses are expected to increase on average by 5,8% annually from 2013 to 2015, as a result of the introduction of a
                                                                   marketing department in 2012



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                                                             Expected Performance
                                                                  ATTORNEYS'      - Asia PURSUANT TO PROTECTIVE ORDER
                                                                             EYES ONLY
                                                             Revenue & Cost Analysis – Organic Growth


Revenue stood at $1,4
                                                     Revenue, Gross & EBITDA margins                                                                     Revenue Service Mix – Organic Growth
million in 2012 and is
expected to grow by 95,6%                                    5.000                                                73,20%                           80%
                                                                                                                                  73,20%                         2012A            2013E           2014E           2015E
                                                             4.500                  73,88%
                                                                                                     70,13%                                        70%
in 2013, reaching $2,8                                                                                          60,76%            60,76%
                                                             4.000
                                                                                                                                                   60%
million.                                                     3.500
                                                                                                                                                                                  16%
                                                     $'000




                                                             3.000                                                     48,23%             48,23%   50%                                           17%             17%
                                                                                                     46,75%
Revenue for 2013 is                                          2.500                                                                                 40%
                                                                                                     36,16%      4.670
expected to be allocated as                                  2.000                                                                4.670
                                                                                                                                                   30%
                                                                           1.410
16% from Dedicated Servers                                   1.500                           2.836                                                                                      84%             83%
                                                                           10,55%
                                                                                                                                                   20%             100%                                                83%
                                                             1.000
and 84% from Bandwidth.                                                                                                                            10%
                                                                 500
                                                                                    3,15%
                                                                   -                                                                               0%
Total operating expenses are                                                                                                                                  Dedicated Servers   Bandwidth   Other Revenue
                                                                            2012             2013               2014               2015
expected to decrease by
                                                                               Revenue               EBITDA Margin %            Net profit %
12,4% in 2014 and remain at
                                                             Source:   Management, KPMG Analysis
the same levels for 2015. The
Management has followed a
very aggressive marketing                                    Revenue/Margins
strategy during 2012 and                                     ■     Revenue stood at $1,4 million in 2012 and is expected to grow by 95,6% next year, reaching $2,8 million by 2013
2013 in order to establish                                   ■     Management aims to acquire almost all market share by 2015, mainly by offering lower prices to customers
itself in the region. The                                    Revenue Mix – Services Portfolio
marketing expenses are                                       ■     Other revenue was the only source of revenue in 2012
expected to decrease from                                    ■     From 2013 onwards, the mixture of revenue streams will be on average 84% from dedicated servers and 16% from bandwidth
2014 onwards.                                                ■     Revenue mix is expected move around these levels throughout the 2013 to 2015 period
                                                             Operating Expenses
                                                             ■     Total operating expenses are expected to decrease by 12,4% in 2014 and remain at the same levels for 2015
                                                             ■     The Management has followed a very aggressive marketing strategy during 2012 and 2013 in order to establish itself in the region
                                                             ■     The marketing expenses are expected to decrease from 2014 onwards
                                                             Appendix 2 includes the Income Statement of the Asia operations.

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                                                         Expected Performance
                                                              ATTORNEYS' EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                         Acquisition Strategy


XBT Holding Limited is
                                                              Acquisition Strategy                                                                                 This section examines the Acquisition growth scenario, which
expected to acquire a total of                                                                                                                                     assumes that the Group follows an acquisition growth strategy.
                                                                Expected Year of                         Num ber of Acquired Entities
six companies in the data                                                                                                                                          The table on the left shows the Group’s acquisition strategy from 2013
                                                                  Acquisition                   Em erging Grow th            Developed Countries
centre industry by 2014 as                                                                                                                                         to 2016. A total of six acquisitions are planned to be carried out by
                                                                                                Countries (EGCs)                    (DCs)
part of their acquisition                                                                                                                                          2014, while no new acquisitions are expected until 2016. The majority
                                                              2013                                                         1                   2
                                                                                                                                                                   of emphasis is being placed in emerging market business.
strategy.                                                     2014                                                         3                   -                   Management believes that the this strategy is possible and realistic.
                                                              2015                                                         -                   -
                                                              2016                                                         -                   -                   The total acquisition cost is estimated at $57,12 million in 2013 and
                                                                                                                                                                   $3,36 million in 2014.
                                                              Total                                                        4                   2
                                                                Source: Management
                                                                Note: Acquisition Revenues do not include Organic growth




                                                                                          DC Co1 DC Co2               EGC Co3
                                                                                          Q2 2013 Q4 2013             Q2 2014
                                                                      2013                                      2014                                      2015                           2016

                                                                                                     Acquisition Period



                                                                              Funding EGC Co1                   EGC Co2             EGC Co4                                           Strategic Withdrawal / IPO Sale
                                                                                      Q1 2013                   Q1 2014             Q3 2014




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                                                         Expected Performance
                                                              ATTORNEYS' EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                         Projected Income Statement – Acquisition Growth (1/3)


Under the Acquisition
                                                         The table below shows the projected consolidated income statement of the Group for a period of four years from 2013 up to 2016. This section
Growth scenario, in 2013                                 examines the Acquisition growth scenario, which assumes that the Group follows an acquisition growth strategy. The acquisitions are assumed
Management expects gross                                 to occur during 2013 and 2014. The revenue of the Group is expected to be $19,2 million by 2013 and increase to $112,4 million by 2015. The
                                                         revenue presented include the organic growth revenue for the acquired companies.
revenue to reach $19,2
million and to reach $112,4                               Consolidated Incom e Statem ent (Acquisition Grow th)
million by 2016.                                                                                                                                                       2013E      2014E      2015E          2016E
                                                                                                                                                                        $'000      $'000      $'000          $'000
The increase in revenue is
                                                          Data Center                                                                                                15.378      57.655     77.256         88.815
expected to continue for the                                  Co-location                                                                                            11.534      37.950     45.962         47.218
following years, however at                                   Managed Hosting                                                                                         2.883      14.596     22.492         28.106
a lower level.                                                Virtual / Cloud Computing                                                                                 961       5.109      8.801         13.491
                                                          Managed Netw ork Services                                                                                   2.883      10.217     11.735         11.242
EBITDA is expected to                                     Value Added Services                                                                                          961       5.109      8.801         12.367
amount to $2,0 million in                                 Gross Revenue                                                                                              19.223      72.981     97.793        112.424
                                                          Sales Allow ance                                                                                             (192)       (730)      (978)        (1.124)
2013 and grow to $24,3
                                                          Cost of Sales                                                                                              (9.707)    (35.769)   (46.287)       (51.419)
million by 2016.
                                                          Gross Profit                                                                                                9.323      36.482     50.527         59.880
                                                          Gross Profit %                                                                                              48,5%       50,0%      51,7%          53,3%
                                                          Operating Expenses                                                                                         (7.322)    (22.319)   (30.552)       (35.555)
                                                          EBITDA                                                                                                      2.001      14.163     19.975         24.326
                                                          EBITDA %                                                                                                    10,4%       19,4%      20,4%          21,6%
                                                          Depreciation & Amortisation                                                                                (1.332)     (5.058)    (6.777)        (7.791)
                                                          EBIT                                                                                                          669       9.105     13.198         16.535
                                                          Finance Expenses                                                                                             (235)     (1.516)    (7.263)        (8.996)
                                                          EBT                                                                                                           434       7.589      5.935          7.539
                                                          Corporate Income Tax                                                                                            -      (1.518)    (1.187)        (1.508)
                                                          Profit/(loss) for the year                                                                                    434       6.071      4.748          6.031
                                                            Source:   Management Projections 2013 - 2016, KPMG Analysis




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                                                         Expected Performance
                                                              ATTORNEYS' EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                         Revenue Analysis – Acquisition Growth (2/3)


Total revenue is expected to                              Expected Financial Performance                                                                                        Revenue/Margins
increase by 280% in 2014                                     120.000                                                                                                60%         ■    Total revenue is expected to increase by 280% in 2014 compared
                                                                                                                                               112.424
                                                                                                                              51,7%                                                  to 2013, reaching $112,4 million in 2016
compared to 2013, reaching                                                            48,5%
                                                                                                            50,0%
                                                             100.000                                                                                 53,3%          50%
                                                                                                                            97.793                                              ■    Gross profit margin is also expected to improve
$112,4 million in 2016.
                                                                 80.000                                                                                             40%         ■    Following the six acquisitions, Management expects EBITDA
Co-location and managed                                                                              72.981
                                                                                                                                                                                     margins to increase by 86,4% in 2014, and then follow an average
                                                         €'000




hosting services are the                                         60.000                                                                                             30%              smooth increase of 5,6% from 2015 onwards
                                                                                                                                   20,4%              21,6%
most significant sources of                                                                                     19,4%                                                           Revenue Mix – Services Portfolio
                                                                 40.000                                                                                             20%
revenue.                                                                          19.223
                                                                                                                                                                                The services mix which will be offered according to Management is
                                                                 20.000                    10,4%                                                     5,4%           10%         shown in the pie charts below for the four years which would follow
                                                                                                                8,3%
                                                                                                                                   4,9%                                         their acquisition strategy. Co-location and managed hosting services
                                                                      -
                                                                                         2,3%
                                                                                                                                                                    0%          are the most significant sources of revenue.
                                                                                  2013                   2014               2015                   2016

                                                                                  Gross Revenue                                         Gross Profit margin
                                                                                  EBITDA margin                                         Profit margin

                                                           Source:        Management



                                                             Revenue Service Mix – Acquisition Growth
                                                                                  2013E                                                       2014E                                        2015E                             2016E
                                                                            5%

                                                                                                                                              7%                                           9%                                11%

                                                                            15%                                                       14%                                            12%                               10%
                                                                                                                                                                                                                                      42%
                                                                                                                                                                                                         47%
                                                                          5%                                                       7%                                               9%
                                                                                                                                                              52%                                                     12%

                                                                           15%                     60%
                                                                                                                                        20%
                                                                                                                                                                                         23%
                                                                                                                                                                                                                             25%




                                                                      Co-location          Managed Hosting              Virtual / Cloud Computing             Managed Network Services         Value Added Services




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                                                          Expected Performance
                                                               ATTORNEYS' EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                          Cost Analysis – Acquisition Growth (3/3)


Salaries & Benefits are                                Selling, General and Administration expenses                                                                Operating Expenses
expected to account for the                                     40.000                                                                                             ■       Salaries & Benefits are expected to account for the most significant
most significant part of the                                                                                                                                               part of the operating expenses (56,8% of total expenses in 2013
                                                                35.000
                                                                                                                                                4.577                      and reach 63,2% of the total expenses by 2016)
operating expenses (56,8%                                       30.000                                                                          1.437
                                                                                                                            3.286               2.492              ■       Management expects that the total operating expenses for 2014 will
                                                        €'000




of total expenses in 2013                                                                                                   1.249               1.000
                                                                25.000                                                      1.803                                          increase by 204,8% in relation to previous year due to the
                                                                                                            2.086           1.000
and reach 63,2% of the total                                                                                1.020                                                          significant increase in revenue
                                                                20.000
                                                                                                            1.059
expenses by 2016).                                                                                          1.000
                                                                15.000                                                                          22.480
                                                                                                                           20.714
Management expects that                                         10.000                                  14.989
the total operating expenses                                     5.000              450
                                                                                   4.156
for 2014 will increase by                                             0            1.208                    2.165           2.500               3.570

204,8% in relation to                                                              2013                     2014            2015                 2016

previous years.                                                                 Corporate Expenses                    Salary & Benefits
                                                                                Marketing Spend                       Occupancy
                                                                                Legal & Professional Fees             T&E and other G&A




                                                            Source:       Management




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Valuation
Methodology




                                                                            P-G000675
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                                                         Valuation Methodology
                                                              ATTORNEYS'  EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                         Overview of valuation approach


The different valuation                                  Overview of valuation methodologies                                                                       The different valuation methods imply different complexity. The DCF
                                                                                                                                                                   valuation aims to analyse the potential of a company through its
methods imply different                                  For the purpose of this valuation, the valuation method(s) that will be
                                                                                                                                                                   expected performance, the relative valuation will deduce a value of the
complexity. The DCF                                      followed may vary. The three approaches applied are:
                                                                                                                                                                   company based on recent performance and valuations of comparable
valuation aims to analyse                                ■ Economic Methods - Discounted cash flow (DCF)                                                           companies and transactions that have taken place in the industry.
the potential of a company                                    – based on the concept that the value of a company rests on its                                      Appendix 1 of this report gives a detailed overview of each valuation
through its expected                                            ability to generate cash in the future, and hence, the valuation                                   methodology.
                                                                under this methodology is based on the future cash flows of the
performance, the relative                                                                                                                                          Appendix 3 presents the parameters used to calculate WACC of each
                                                                business, discounted to the present value using an appropriate
                                                                                                                                                                   location and for the whole Group.
valuation will deduce a value                                   rate
of the company based on                                       – Under the organic growth model, a different WACC rate for
recent performance and                                          each location (European, US and Asia) is calculated in order to
                                                                discount each location’s free cash flows to the firm (‘FCFF’).
valuations of comparable
                                                                The whole Group’s WACC was also calculated in order to
companies and recent                                            discount the consolidated FCFF
comparable transactions.                                 ■ Relative Valuation - Comparable company multiples:
                                                              – the multiples approach does not analyse the company’s
                                                                financials, but rather uses market indices to estimate the value,
                                                                based on industry benchmarks, averages and, where available,
                                                                comparable transactions. Still, it is a relatively easy valuation
                                                                method and often helps in drawing meaningful conclusions in a
                                                                valuation
                                                         ■ Relative Valuation - Comparable transactions:
                                                              – looking at similar transactions that have taken place in the
                                                                industry. This would be achieved by looking at what multiple of
                                                                a key valuation parameter these companies have been acquired




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Valuation Results




                                                                            P-G000677
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                                                         Valuation Results -EYES
                                                              ATTORNEYS'     Europe
                                                                                 ONLY PURSUANT TO PROTECTIVE ORDER
                                                         Discounted cash flow – Organic Growth


The estimated equity value                                Projected Free Cash Flow s (European-located com panies - Organic Grow th)

for the European operations                                                                                                                                                                 2013E            2014E                 2015E
as at 31 December 2012,                                                                                                                                                                          $                $                     $
                                                          Net Profit                                                                                                                    2.566.909        4.536.993             6.678.950
under the organic growth
                                                          Depreciation & Amortisation                                                                                                   2.933.060        3.699.660             3.884.643
scenario, using the DCF                                   Capital Expenditure                                                                                                          (3.819.500)      (3.830.000)           (3.830.000)
method, ranges from $73,0                                 Interest                                                                                                                        502.437          814.437               855.159
million to $86,6 million.                                 Tax on EBIT                                                                                                                     641.727        1.134.248             1.669.737
                                                          Changes in Working Capital                                                                                                     (285.900)        (381.900)             (381.900)
The discount rate chosen                                  FCFF                                                                                                                          2.538.733        5.973.438             8.876.589
was based on the weighted                                 Terminal rate / value                                                                                             1,00%                                             93.942.876
average cost of capital of                                Discount rate / factor                                                                                           10,54%         0,9046            0,8183                0,7403
                                                          Present value of FCFF                                                                                                        2.296.593         4.888.309             6.571.243
equity and debt of European
                                                          Present value of terminal value                                                                                                                                     69.544.897
operations. This was set at                               Enterprise Value                                                                                                                                                    83.301.042
10,54%.                                                   Less: Net Debt                                                                                                                                                      (4.034.151)
                                                          Equity value as at 31 Decem ber 2012                                                                                                                                79.266.891
The net debt of $4,0 million
                                                            Source: KPMG Analysis
was deducted from the
                                                         Capital Expenditure                                                                                       Sensitivity Analysis - European Operations Equity Value ($000s)
enterprise value to calculate
                                                         The Management expect that the capital expenditure to be $3,8 million                                                                            Discount Factors
the equity value of the                                  annually.
European operation as at 31                                                                                                                                                              79.267      10,04%          10,54%       11,04%
                                                         Working Capital Changes
                                                                                                                                                                                           0,75%     82.081          77.324       73.033
December 2012.                                           Working capital investment will mainly arise from changes in                                              Term inal Grow th
                                                         inventories, receivables and payable, as provided by Management.                                                                  1,00%     84.262          79.267       74.773
                                                                                                                                                                        Rates
                                                         Terminal Value/Growth                                                                                                             1,25%     86.566          81.314       76.603
                                                         A 1% growth to perpetuity was assumed for the estimation of the
                                                                                                                                                                   Equity Value
                                                         terminal value.
                                                                                                                                                                   Based on these assumptions, the value of the European operations
                                                         Free Cash Flows
                                                                                                                                                                   using the DCF methodology ranges from $73,0 million to $86,6
                                                         The Free Cash Flow to the Firm (‘FCFF’) as given above, are                                               million as at 31 December 2012, for a sensitivity of ±0,5% on the
                                                         discounted at 10,54%. Refer to Appendix 3 for the derivation of                                           WACC and ±0,25% for the growth rate to perpetuity.
                                                         discount rate. A 1% company risk is used in the calculation of the
                                                         WACC rate.

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                                                         Valuation Results –
                                                              ATTORNEYS'     US ONLY PURSUANT TO PROTECTIVE ORDER
                                                                           EYES
                                                         Discounted cash flow – Organic Growth


The estimated equity value                               Projected Free Cash Flow s (US-located com panies - Organic Grow th)
for US-located companies                                                                                                                                                                        2013E             2014E                  2015E
based on DCF method                                                                                                                                                                                  $                 $                      $
ranges from $140,8 million to                            Net Profit                                                                                                                         8.393.821         8.440.663             10.015.853
$170,9 million.                                          Depreciation & Amortisation                                                                                                        1.863.850         1.865.517              1.958.793
                                                         Capital Expenditure                                                                                                               (2.000.000)       (1.968.000)            (2.000.000)
The discount rate chosen                                 Interest                                                                                                                             202.510            23.923                 25.120
was based on the weighted                                Tax on EBIT                                                                                                                          342.821         2.271.527              2.785.169
                                                         Changes in Working Capital                                                                                                          (195.600)         (289.500)              (289.500)
average cost of capital of
                                                         FCFF                                                                                                                               8.607.402        10.344.130             12.495.434
equity and debt of US                                    Terminal rate / value                                                                                             1,00%                                                   164.550.522
operations. This was set at                              Discount rate / factor                                                                                            8,67%              0,9202             0,8468                 0,7792
8,67%.                                                   Present value of FCFF                                                                                                             7.920.707          8.759.468              9.737.041
                                                         Present value of terminal value                                                                                                                                           128.225.647
The net debt of $0,3 million                             Enterprise Value                                                                                                                                                          154.642.864
was deducted from the                                    Less: Net Debt                                                                                                                                                               (255.285)
enterprise value to calculate                            Equity value as at 31 Decem ber 2012                                                                                                                                      154.387.579

the equity value of the US                                Source: KPMG Analysis

operations as at 31
                                                         Capital Expenditure
December 2012.                                                                                                                                                    Sensitivity Analysis - US Operations Equity Value ($000s)
                                                         Management expects an amount of $2,0 million for capital expenditure
                                                         in 2013 and will remain at approximately the same levels for 2014 and                                                                                 Discount Factors
                                                         2015.
                                                                                                                                                                                           154.388         8,17%           8,67%         9,17%
                                                         Free Cash Flows
                                                                                                                                                                                             0,75%       160.467     150.025           140.827
                                                         The FCFF are discounted at 8,67%. A 1% company risk is used in the Term inal Grow th
                                                         calculation of the WACC rate.                                                                                                       1,00%       165.485     154.388           154.380
                                                                                                                                 Rates
                                                         Equity Value                                                                                                                        1,25%       170.866     159.028           148.688
                                                         Based on these assumptions, the value of the US operations using the                                      Source: KPMG Analysis
                                                         DCF methodology ranges from $140,8 million to $170,9 million as at
                                                         31 December 2012, for a sensitivity of ±0,5% on the WACC and
                                                         ±0,25% for the growth rate to perpetuity.



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                                                         Valuation Results -EYES
                                                              ATTORNEYS'     AsiaONLY PURSUANT TO PROTECTIVE ORDER
                                                         Discounted cash flow – Organic Growth


The table to the right                                  Projected Free Cash Flow s (Asia-located com panies - Organic Grow th)
presents the derivation of                                                                                                                                                                       2013E                 2014E            2015E
the estimated equity value                                                                                                                                                                            $                     $                $
for Asia operations, under                              Net Profit                                                                                                                           1.025.345             2.252.397        2.252.397
the organic growth scenario,                            Depreciation & Amortisation                                                                                                             42.756                20.748           20.748
                                                        Capital Expenditure                                                                                                                          -                     -                -
as at 31 December 2012,
                                                        Interest                                                                                                                                 1.200                 1.200            1.200
using the DCF method.                                   Tax on EBIT                                                                                                                            256.336               563.099          563.099
                                                        Changes in Working Capital                                                                                                             (57.900)              (57.900)         (57.900)
The discount rate chosen
                                                        FCFF                                                                                                                                 1.267.737             2.779.544        2.779.544
was based on the weighted                               Terminal rate / value                                                                                               1,00%                                                  27.472.322
average cost of capital of                              Discount rate / factor                                                                                             11,22%               0,8991                0,8084           0,7269
equity and debt of Asia                                 Present value of FCFF                                                                                                                1.139.859             2.247.073        2.020.408
operations. This was set at                             Present value of terminal value                                                                                                                                            19.969.208
                                                        Enterprise Value                                                                                                                                                           25.376.548
11,22%.
                                                        Less: Net Debt                                                                                                                                                                      -
The equity value, based on                              Equity value as at 31 Decem ber 2012                                                                                                                                       25.376.548

the DCF methodology,                                      Source: KPMG Analysis

ranges from $23,4 million to                           Free Cash Flows                                                                                           Sensitivity Analysis - Asia Operations Equity Value ($000s)
$27,4 million.                                         The FCFF, as shown above, are discounted at 11,22%. A 1%
                                                       company risk is used for the Asia located operations as these are                                                                                       Discount Factors
                                                       recently started operations and are considered to bear a greater risk                                                               25.377         10,72%          11,22%       11,72%
                                                       level.                                                                                                                                             26.158          24.851       23.665
                                                                                                                                                                                            0,75%
                                                       Equity Value                                                                                                Term inal
                                                                                                                                                                                            1,00%         26.743          25.377       24.138
                                                       Based on these assumptions, the value of the Asia operations using                                        Grow th Rates
                                                                                                                                                                                            1,25%         27.359          25.928       24.635
                                                       the DCF methodology ranges from $23,4 million to $27,4 million as
                                                       at 31 December 2012, for a sensitivity of ±0,5% on the WACC and                                             Source: KPMG Analysis
                                                       ±0,25% for the growth rate to perpetuity.




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                                                         Valuation Results -EYES
                                                              ATTORNEYS'     Consolidated
                                                                                 ONLY PURSUANT TO PROTECTIVE ORDER
                                                         Discounted cash flow – Organic Growth


The equity value of the                                 Consolidated Projected Free Cash Flow s (Organic Grow th)

Group, based on DCF                                                                                                                                                                       2013E             2014E                 2015E
methodology, ranges from $                                                                                                                                                                     $                 $                     $
                                                        Net Profit                                                                                                                   11.986.074        15.230.053            18.947.199
237,6 million to $284,1
                                                        Depreciation & Amortisation                                                                                                   4.839.667         5.585.925             5.864.184
million.                                                Capital Expenditure                                                                                                          (5.819.500)       (5.798.000)           (5.830.000)
                                                        Interest                                                                                                                        706.147           839.560               881.478
The discount rate chosen
                                                        Tax on EBIT                                                                                                                   1.240.884         3.968.874             5.018.006
was based on the weighted                               Changes in Working Capital                                                                                                     (539.400)         (729.300)             (729.300)
average cost of capital of                              FCFF                                                                                                                         12.413.872        19.097.113            24.151.567
equity and debt of the whole                            Terminal rate / value                                                                                              1,00%                                            285.836.792
Group. This was set at                                  Discount rate / factor                                                                                             9,53%         0,9130            0,8335                0,7609
                                                        Present value of FCFF                                                                                                        11.333.359        15.917.339            18.378.050
9,53%.
                                                        Present value of terminal value                                                                                                                                     217.506.499
The net debt of $4,3 million                            Enterprise Value                                                                                                                                                    263.135.246
                                                        Less: Net Debt                                                                                                                                                       (4.289.436)
was deducted from the
                                                        Equity value as at 31 Decem ber 2012                                                                                                                                258.845.810
enterprise value to calculate
                                                          Source: KPMG Analysis
the equity value of the Group
                                                                                                                                                                 Sensitivity Analysis - Equity Value ($000s)
as at 31 December 2012.                                  Free Cash Flows
                                                         The FCFF for the Group are discounted at 9,53%, which results on an                                                                             Discount Factors
                                                         enterprise value of $262,3 million.                                                                                         258.846         9,03%          9,53%        10,03%
                                                         Equity Value                                                                                                                              268.397       252.132        237.628
                                                                                                                                                                                        0,75%
                                                         Based on these assumptions, the value of the Group using the DCF Term inal Grow th                                                        276.028       258.846        243.574
                                                                                                                                                                                        1,00%
                                                         methodology ranges from $237,6 million to $284,1 million as at 31       Rates
                                                         December 2012, for a sensitivity of ±0,5% on the WACC and ±0,25%                                                               1,25%      284.149       265.965        249.858
                                                         for the growth rate to perpetuity.                                Source: KPMG Analysis




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                                                         Valuation Results EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                              ATTORNEYS'
                                                         Discounted cash flow – Acquisition Growth

                                                          Projected Free Cash Flow s (Acquisition Grow th)
The equity value of the                                                                                                                                                              2013E          2014E             2015E              2016E
Group, based on the DCF                                                                                                                                                                   $              $                 $                  $
                                                          Net Profit                                                                                                               433.947      6.071.087         4.748.202          6.031.354
methodology, ranges from
                                                          Depreciation & Amortisation                                                                                            1.332.126      5.057.582         6.777.022          7.790.962
$147,1 million to $193,0
                                                          Capital Expenditure                                                                                                       (4.753)       (38.672)          (31.457)           (32.290)
million, under the                                        Interest                                                                                                                 235.268      1.516.451         7.262.890          8.995.506
acquisition growth scenario.                              Tax on EBIT                                                                                                                    -     (1.517.772)       (1.187.050)        (1.507.838)
                                                          Changes in Working Capital                                                                                                     -         (2.740)           (3.009)            (2.041)
                                                          FCFF                                                                                                                   1.996.587     11.085.936        17.566.598         21.275.653
                                                          Terminal rate / value                                                                                1,00%                                                               270.987.829
                                                          Discount rate / factor                                                                               8,93%                0,9180         0,8428            0,7737             0,7103
                                                          Present value of FCFF                                                                                                  1.832.914      9.342.865        13.590.932         15.111.178
                                                          Present value of terminal value                                                                                                                                          192.470.964
                                                          Enterprise Value                                                                                                                                                         232.348.853
                                                          Less: Net Debt                                                                                                                                                            (4.289.436)
                                                          Less: Acquisition Cost                                                                                                                                                   (60.204.559)
                                                          Equity value as at 31 Decem ber 2012                                                                                                                                     167.854.858
                                                           Source: KPMG Analysis

                                                         The table above presents the derivation of the estimated equity value
                                                         of the Group, under the acquisition growth scenario, as at 31                                               Sensitivity Analysis - Equity Value($000s)
                                                         December 2012, using the DCF method. This valuation includes the
                                                         effect of acquisitions which are partly financed through expected equity                                                                                  Discount Factors
                                                         injections, thus it is deducted from the concluded EV value. A detailed
                                                         description of the DCF method is presented in Appendix 1 of this                                                                     167.855          8,43%          8,93%       9,43%
                                                         report.                                                                                                                                0,75%        177.861     161.510        147.065
                                                         FCFF as given above are discounted at 8,93% (Appendix 3). A 2%                                                      Term inal
                                                         company risk is used under the acquisition method as the newly                                                                         1,00%        185.173     167.855        152.613
                                                                                                                                                                           Grow th Rates
                                                         acquired operations are considered to bear a greater risk level.                                                                       1,25%        192.995     174.612        158.500
                                                         Capital Expenditure
                                                         Management expects an amount of $4,8 thousand for capital
                                                         expenditure in 2013 which will go up to $38,7 thousand in 2014. This                                      Equity Value
                                                         is due to a data centre buyout.                                                                           Based on these assumptions, the value of the Group using the DCF
                                                         Terminal Value/Growth                                                                                     methodology ranges from $147,1 million to $193,0 million as at 31
                                                         A 1% growth to perpetuity was assumed for the estimation of the                                           December 2012, for a sensitivity of ±0,5% on the WACC and ±0,25%
                                                         terminal value.                                                                                           for the growth rate to perpetuity.


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                                                         Valuation results EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                              ATTORNEYS'
                                                         Comparable multiples (1/2)


The tables depict the trailing                                                                                                                                             The tables present the trailing and forward multiples from
                                                      Comparable Companies Multiples Analysis based on Trailing multiples
                                                                                                                                                                           selected traded stocks (i.e. comparable companies from the
and forward multiples from
                                                                                                                            Trailing Multiples                             same industry as the Group ‘CoCo multiples’). These are
selected traded stocks.                                                                                P/E            P/S        EV/EBIT       EV/Sales EV/EBITDA          derived from the latest published results of the companies.
                                                      Com pany
                                                                                                                                                                           We have also included the multiples implied by the DCF
A marketability discount in                           AKAMAI TECHNOLOGIES INC                        35,57x           5,30x       19,58x          4,49x          11,88x
                                                                                                                                                                           analysis under the two scenarios. The implied DCF multiples
                                                      DUPONT FABROS TECHNOLOGY                       outlier          4,57x       26,97x          9,08x          15,00x
the range of 20%-30% is                                                                                                                                                    under Acquisition strategy were applied to 2014 figures, as
                                                      EQUINIX INC                                    outlier          5,17x       30,18x          6,64x          15,50x    they are deemed to be more representative than 2013 low
used.                                                 INTERXION HOLDING NV                           38,31x           4,37x       22,14x          5,21x          13,22x    figures. Implied DCF multiples under Organic growth were
                                                      IOMART GROUP PLC                               28,42x           5,27x       25,73x          5,35x          15,17x    applied to 2013 figures.
                                                      RACKSPACE HOSTING INC                          outlier          7,68x       outlier         7,64x          outlier
                                                                                                                                                                           Six main multiples have been used and compared to our
                                                      Average                                        34,10x           5,39x       24,92x          6,40x          14,16x
                                                                                                                                                                           implied multiples in order to derive a relative valuation for the
                                                      Discounted - 20%                               27,28x           4,31x       19,94x          5,12x          11,32x    Group. Based on the theory discussed in Appendix 1, we
                                                      Discounted - 25%                               25,57x           4,04x       18,69x          4,80x          10,62x    have used a marketability discount in the range of 20-30% to
                                                      Discounted - 30%                               23,87x           3,78x       17,44x          4,48x          9,91x     reflect the fact that the Group being valued is private and
                                                      Source: Bloomberg, KPMG Analysis                                                                                     does not have shares traded in a public exchange.

                                                       Comparable Companies Multiples Analysis based on Forward multiples
                                                                                                                                                                                                Forward Multiples
                                                       Com pany                                                                                                             P/E         P/S       EV/EBIT      EV/Sales        EV/EBITDA
                                                       AKAMAI TECHNOLOGIES INC                                                                                             17,14x      3,87x      11,29x         3,17x            7,50x
                                                       DUPONT FABROS TECHNOLOGY                                                                                            32,59x      4,30x      21,80x         8,21x           13,16x
                                                       EQUINIX INC                                                                                                         outlier     4,45x      24,76x         5,62x           12,07x
                                                       INTERXION HOLDING NV                                                                                                31,44x      3,75x      18,93x         4,42x           10,28x
                                                       IOMART GROUP PLC                                                                                                    23,85x      4,85x      19,24x         4,91x           12,55x
                                                       RACKSPACE HOSTING INC                                                                                               outlier     3,74x      outlier        3,64x           10,39x
                                                       Average                                                                                                             26,25x      4,16x      19,20x         4,99x           10,99x
                                                       Discounted - 20%                                                                                                    21,00x      3,33x      15,36x         4,00x            8,79x
                                                       Discounted - 25%                                                                                                    19,69x      3,12x      14,40x         3,75x            8,24x
                                                       Discounted - 30%                                                                                                    18,38x      2,91x      13,44x         3,50x            7,69x
                                                       Im plied m ultiple on DCF [Organic Grow th]-based on 2013 figures                                                   21,52x      5,90x      18,82x         6,00x           13,97x
                                                       Im plied m ultiple on DCF [Acquisition Grow th]-based on 2014 figures                                               37,33x      3,11x      25,36x         3,16x           16,30x
                                                         Source: Bloomberg, KPMG Analysis




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                                                         Valuation results EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                              ATTORNEYS'
                                                         Comparable multiples (2/2)


The equity valuation of the
                                                       Equity valuation using m ultiples (Organic Grow th)
Group based on trailing
                                                                                                                               Trailing Multiples                                                    Forward Multiples
multiples ranges between
                                                                                             P/E               P/S           EV/EBIT           EV/Sales        EV/EBITDA          P/E          P/S        EV/EBIT     EV/Sales     EV/EBITDA
$76,1 million to $158,1
million, while the value                                                                   $000s             $000s             $000s             $000s            $000s          $000s       $000s        $000s          $000s      $000s
                                                       Discounted - 20%                     158.053           117.004           120.714          134.568             87.627       251.724     145.497      209.757       170.352     160.791
resulted using forward
                                                       Discounted - 25%                     148.175           109.691           112.901          125.889             81.882       235.992     136.404      196.379       159.437     150.473
multiples ranges from $127,3                           Discounted - 30%                     138.297           102.378           105.089          117.211             76.137       220.259     127.310      183.001       148.522     140.156
million to $251,7 million. The
                                                         Source: Bloomberg, KPMG Analysis
value of the Group under
Acquisition Growth scenario                                                                                                                                                   The tables on the left present the equity valuation results
                                                        Equity valuation using m ultiples (Acquisition Grow th)
ranges between $104,7                                                                                                                                                         using the multiples of the previous page and expected 2013
                                                                                           P/E               P/S           EV/EBIT         EV/Sales        EV/EBITDA          consolidated results for Organic Growth and 2014 for
million to $287,3 million.
                                                                                                                                                                              Acquisition Growth.
                                                                                          $000s            $000s            $000s            $000s             $000s
The valuation ranges derived                            Discounted - 20%                  127.501          242.922           135.590          287.291          120.254        The valuation derived using the EV/EBITDA trailing multiple
from relative multiples are                             Discounted - 25%                  119.532          227.739           126.848          269.067          112.470        yields the lowest valuation for the Group under the Organic
                                                        Discounted - 30%                  111.564          212.557           118.105          250.843          104.686
                                                                                                                                                                              Growth while EV/EBITDA forward multiple results in the
significantly below the
                                                                                                                                                                              lowest valuation under Acquisition Growth.
results obtained from the                                  Source: Bloomberg, KPMG Analysis
                                                                                                                                                                              The equity valuation of the Group based on trailing multiples
fundamental analysis.                                                                                                                                                         ranges between $76,1 million to $158,1 million, while the
                                                                                                                                                                              value resulted using forward multiples ranges from $127,3
                                                                                                                                                                              million to $251,7 million. The value of the Group under
                                                                                                                                                                              Acquisition Growth scenario ranges between $104,7 million
                                                                                                                                                                              to $287,3million.
                                                                                                                                                                              If we compare these to our DCF analysis, we can see that all
                                                                                                                                                                              relative multiples yield valuation results are significantly
                                                                                                                                                                              below the results obtained from the fundamental analysis.
                                                                                                                                                                              This can be explained from the fact that both scenarios
                                                                                                                                                                              assume growth in future years, captured by DCF, but not by
                                                                                                                                                                              forward multiples relative valuation.




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                                                         Valuation results EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                              ATTORNEYS'
                                                         Comparable transactions


Six main recent deals have                             The table below shows the valuation results from the relative multiple analysis based on recent comparable transactions (‘CoTrans’). We have
been identified in the relative                        identified six deals taken place in 2012 based with target companies operations in line with that of the Company.
value based on comparable                              The implied equity value based on Organic growth 2013 figures ranges between €98,9 million to €194,1 million. The valuation range implied
transactions.                                          based on Acquisition strategy on 2014 figures ranges from €98,3 million to €165,1 million.

The implied equity value
based on Organic growth                                 Com pany Tansaction Multiples Analysis (Organic & Acquisition Grow th Scenarios)

2013 figures ranges between                                                                                                                                           Announced           Total
                                                        Acquirer                                                           Target                                                                        Total Value Deal Multiples
                                                                                                                                                                           Date           Value
€98,9 million to €194,1
                                                                                                                                                                                        $ m illion Revenue    EBITDA       EBIT Net Incom e
million. The valuation range
                                                        Cogeco Cable Inc                                Peer 1 Netw ork Enterprises Inc                                    21/12/2012     638.08     4,51x    20,58x      outlier          n/a
implied based on                                        Cogeco Cable Inc                                Atlantic Broadband Finance LLC                                      18/7/2012    1360.00     4,13x     9,38x     13,51x        22,76x
Acquisition strategy on 2014                            Januarius Resources Realty Corp,Kw antlen
                                                                                                        IP Converge Data Center Inc                                         20/6/2012       3.99     0,35x        n/a     5,45x         5,27x
figures ranges from €98,3                               Development Corp
                                                        IP E-Game Ventures Inc                          IP Converge Data Center Inc                                         17/5/2012       1.96     1,61x    11,80x     19,99x        20,56x
million to €165,1 million.
                                                        Management Group,Gresham Private Equity Ltd/UK Investis Ltd                                                         1/10/2012      48.41     2,61x        n/a     outlier          n/a
                                                        Hikari Tsushin Inc                              e-machitow n Co Ltd                                                 1/10/2012      18.03     0,36x     4,75x      7,46x            n/a
                                                        Average Deal Multiple                                                                                                                        2,26x    11,63x     11,60x        16,20x
                                                        Equity Value [Organic Grow th] ($'000s) - based on 2013                                                                                     98.861   218.280    161.659       194.134
                                                        Equity Value [Acquisition Grow th] ($'000s) - based on 2014                                                                                165.059   164.679    105.644        98.331
                                                       Source: Bloomberg, KPMG Analysis




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                                                         Valuation results EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                              ATTORNEYS'
                                                         Overview of Results


Based on our analysis, we                                                                                                                                            The valuation results are presented under the two scenarios. The
                                                              XBT Holding Limited - Valuation results (Organic Growth)
consider that the best value                                                                                                                                         charts illustrate the summary of the valuation results under the
                                                                                                                                                                     different methodologies used.
estimate should be close to
                                                                                                                                                                     For the DCF approach, the range presented is based on the
DCF approach as it captures
                                                                                                                                                CoTrans              sensitivity results of the growth rate to perpetuity and the discount
the growth expectations of                                                                                                                                           rate.
the Management to reach                                                                                                                                              For the relative multiples using comparable companies, the range is
                                                                                                                                                CoCo Forward
revenue above the industry.                                                                                                                     multiples            based on the marketability discount which accounts for the fact that
                                                                                                                                                                     the company’s stock is not traded in a public exchange.
The concluded valuation of                                                                                                                      CoCo Trailing
                                                                                                                                                multiples            The DCF approach captures the growth expectations of the Company
the Group under Organic                                                                                                                                              to outperform its competitors and reach revenue above the industry,
                                                                                                                                                    DCF
Growth scenario ranges                                                                                                                                               whereas, the other methods do not account for this growth.
                                                                                                                                                                     Therefore, we consider that the best value estimate should be close
from $200 million to $260
                                                      50       75      100      125      150      175      200        225   250      275      300                    to DCF approach as it is considered to be more appropriate.
million. The concluded
                                                                                                                                                                     The concluded valuation of the Group under Organic Growth scenario
equity value under                                                                             Equity Value €'000                                                    ranges from $200 million to $260 million. The concluded equity
Acquisition Growth results                                                                                                                                           value under Acquisition Growth results to a range of $150 million to
                                                             XBT Holding Linited - Valuation results (Acquisition                                                    $210 million.
to a range of $150 million to
                                                                                  Growth)
$210 million.                                                                                                                                                        .


                                                                                                                                        CoTrans



                                                                                                                                        CoCo Forward
                                                                                                                                        multiples


                                                                                                                                        DCF



                                                        50            100             150
                                                                                       50           200               250         300            350



                                                                                            Equity Value €'000
                                                           Source: KPMG Analysis

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                                                                       Appendices




                                                                         Valuation Methodologies




                                                                              P-G000687
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                                                         Appendix 1
                                                             ATTORNEYS' EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                                                                             DCF
                                                                                                                                                                                                         Relative Method
                                                         Valuation Methodologies                                                                                                    Methodology




The Discounted Cash Flow                                 Discounted Cash Flow (‘DCF’) methodology                                                                  This means that in order for a DCF to produce a sensible valuation
                                                                                                                                                                   figure, the importance of the quality of the underlying cash flow
(DCF) valuation model is                                 Value is future oriented and accordingly the theoretically correct                                        forecasts is fundamental.
based on the concept that                                manner to assess market value is to consider the future earnings
                                                         potential of the company under review.                                                                    Under the FCFF the discount rate used is based on the weighted
the value of a company rests                                                                                                                                       average cost of capital (‘WACC’), while under the FCFE cost of equity
                                                         Under a DCF approach, forecast cash flows are discounted back to the                                      is calculated using the Capital Asset Pricing Model (‘CAPM’).
on its ability to generate
                                                         present date using an appropriate rate, generating a net present value                                    Weighted Average Cost of Capital (‘WACC’)
cash in the future which are                             for the cash flow stream of the business. In a DCF analysis, the
then discounted back to                                  forecast period should be of such a length to enable the business to                                      In order to determine the discount rate, we have used the WACC
                                                         achieve a stabilised level of earnings, or to be reflective of an entire                                  methodology as set out below:
present value using an
                                                         operation cycle for more cyclical industries. Typically a forecast period                                         WACC       = Ke x ( E/(D + E)) + Kd x (1-T) x ( D/(D + E))
appropriate rate.                                        of five years is required, although this can vary by industry and sector.
                                                                                                                                                                           Where:
For the companies that are                               In performing the discounted cash flow calculation, there are two
                                                         methods that could be followed:                                                                                   Ke         = cost of equity
funded by both debt and
                                                         ■ Free Cash Flow to the Firm (‘FCFF’): This method derives the                                                    E          = market value of equity
equity, we use the estimated
                                                           enterprise value. In order to obtain the value that is available to the                                         Kd         = cost of debt
weighted average of the cost                               equity holders, the present value of debt should be deducted from
                                                                                                                                                                           D          = market value of debt
of capital, as the discount                                the enterprise value and any excess assets as at the date of
                                                           valuation are added back.                                                                                       T          = corporate taxation rate
rate.
                                                         ■ Free Cash Flow to Equity (‘FCFE’): This method derives the                                              As noted above the market value of debt and equity is used to
For the companies that are                                 equity value. Therefore, the discount rate used reflects the cost of                                    calculate the WACC. In this valuation we have assumed that the book
fully equity funded the                                    equity.                                                                                                 value of the debt equals its market price. For equity we have used the
                                                                                                                                                                   respective estimated market value of equity.
capital asset pricing model                              Discount Rate
was applied as the discount                                                                                                                                        Cost of equity (‘Ke’)
                                                         The rate at which the future cash flows are discounted (‘the discount
rate.                                                    rate’) reflects the return that investors in a company would expect as                                    The CAPM takes into account the required return on a company’s
                                                         well as the risk of the business compared to other alternative                                            equity as a linear function of a single factor, namely the rate of return of
                                                         investment opportunities.                                                                                 the reference market, and is perhaps the most commonly used method
                                                                                                                                                                   for deriving a business’ cost of equity since:
                                                         Moreover, the discount rate should reflect not only the time value of the
                                                         cash flows but also the risk associated with the business’ future                                         ■ Proven track record and academic merits: CAPM is possibly the
                                                         operations.                                                                                                 most widely used and researched methodology
                                                                                                                                                                   ■ The parameters require mainly the use of market-derived
                                                                                                                                                                     information, much of which may be readily available


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                                                         Appendix 1 (Continued)
                                                             ATTORNEYS'   EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                                                                               DCF
                                                                                                                                                                                                       Relative Method
                                                         Valuation Methodologies                                                                                                    Methodology




Risk free rate used amounts                              Cost of equity (Continued)                                                                                The risk free rate of return (‘Rf’)
to 1,61% which represents a                              The CAPM formula for computing the cost of equity is the following:                                       The risk-free rate is the expected return on a ‘risk-free’ asset. In
yield to maturity of US 10                                                                                                                                         practice, it is not possible to find an investment that is free of all risks.
                                                              Ke = Rf + β x Rp,
                                                                                                                                                                   However, government bonds can generally be regarded as having
Year Government bonds as
                                                                   = Rf + β x (Rm – Rf)                                                                            close-to-zero default risk (governments are unlikely to default) and
at 31 December 2012.                                                                                                                                               close-to-zero liquidity risk.
                                                              Where:
To estimate the beta of the                                                                                                                                        The yields to maturity of such bonds, which take into account future
                                                              Rf = Risk-free rate of return
                                                                                                                                                                   expectations of inflation and any differences between the coupon rate
Group we have used a                                          β = Systematic (diversifiable) risk factor, i.e. the relative risk of a                              of interest and prevailing market rates, are typically regarded as an
benchmarking model of                                                 stock with respect to the reference market                                                   appropriate proxy for the risk-free rate.
companies operating in the                                    Rm = Rate of return of the reference market                                                          Although risk-free rates can be affected by institutional factors and be
same industry.                                                Rp = Equity risk premium (= Rm – Rf)                                                                 volatile in the short run, we consider it appropriate to calculate a risk
                                                                                                                                                                   free rate based on recent Government bond yields auction.
                                                                                                                                                                   In the calculation of the risk free rate, we have used US 10 Year
                                                                                                                                                                   Government bond yield to maturity.
                                                                                                                                                                   Beta Factor (‘β’)
                                                                                                                                                                   Beta (β) is a statistical parameter, which essentially measures the
                                                                                                                                                                   relevant risk of a business. Furthermore, beta is a statistical coefficient
                                                                                                                                                                   in the cost of equity, which measures the sensitivity (relative volatility)
                                                                                                                                                                   of a specific company’s equity returns with respect to the returns of the
                                                                                                                                                                   reference market.
                                                                                                                                                                   β values greater than 1,0 imply that the equity returns of the company
                                                                                                                                                                   in question are more volatile (‘riskier’) than the respective market
                                                                                                                                                                   returns, or that the stock tends to amplify market movements. On the
                                                                                                                                                                   other hand, β values between 0 and 1,0 imply that the volatility (and
                                                                                                                                                                   hence the risk) of the stock’s returns is smaller than that of the returns
                                                                                                                                                                   of the reference market.
                                                                                                                                                                   The beta factors were derived by looking at beta factors of comparable
                                                                                                                                                                   listed companies as shown in Appendix 4 of this report.




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                                                         Appendix 1 (Continued)
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                                                                                                               DCF
                                                                                                                                                                                                       Relative Method
                                                         Valuation Methodologies                                                                                                    Methodology




The market risk premium                                  Levered Vs Unlevered beta                                                                                 The market risk premium (‘MRP’)
was obtained using the                                   In order to derive an appropriate beta for the calculation of the cost of                                 The market risk premium is the difference between the market return
default spread and adding it                             equity of each company in the Group, we have used a benchmarking                                          and the risk free rate (Rm – Rf). It represents the additional return
                                                         technique. Specifically, we have obtained current values of beta for a                                    required by investors for accepting the systemic risk associated with
to the historical risk                                   number of companies that were considered to be appropriate and                                            investing in the market portfolio instead of a risk-free asset. In practice,
premium for a mature equity.                             relevant to each company in the Group, whose shares are listed on                                         the market risk premium is often referred to as the Equity Risk
                                                         Stock Exchanges and hence their beta is readily available. In using the                                   Premium (“ERP”), as its focus is the equity (capital) market.
At the end of the forecast                               data, we have taken into account specific considerations that could
                                                                                                                                                                   This was obtained using the default spread and adding it to the
period, it is assumed that the                           affect the beta value such as size and industry concentration by
                                                                                                                                                                   historical risk premium for a mature equity market which was set at
                                                         performing sensitivity analysis on beta values.
profits and hence the                                                                                                                                              5,45% and taking into consideration the higher volatility of the equity
                                                         The beta factor quoted was then “unlevered” (i.e. turning it into a beta                                  market from a bond market of 1,5 times. (Source: Damodaran Online)
corresponding cash flows
                                                         of an all equity financed company by considering each firm’s debt-to-                                     Cost of debt, (‘Kd’)
generated will continue                                  equity ratio) which was then “re-levered” to the current debt to equity
indefinitely (terminal value).                           structure of the company using the following formula:                                                     For the cost of debt we have used the current weighted average cost
                                                                                                                                                                   based on the outstanding loan facilities of each company in the Group
As a result, we have added a
                                                                                                                                                                   as at 31 December 2012 and their respective interest rates as these
‘terminal value’ to our                                                            Bl = Bu x (1+ D/E x (1-t))                                                      were provided to us by the Management as well as the expected
calculation to account for                                                                                                                                         interest rate of potential additional financing needs.
                                                         where:
the cash flows after the end                                                                                                                                       Terminal value
                                                         ■ Bu          = Unlevered beta
of the projection period. This                                                                                                                                     At the end of the forecast period, it is assumed that the profits and
                                                         ■ Bl         = Levered beta                                                                               hence the corresponding cash flows generated will continue indefinitely
rate stands at 1%.
                                                                                                                                                                   (terminal value). As a result, we have added a ‘terminal value’ to our
                                                         ■ D/E         = ratio of market value of Debt to market value of Equity
                                                                                                                                                                   calculation to account for the cash flows after the end of the projection
                                                         ■ T           = Effective tax rate                                                                        period.
                                                                                                                                                                   In order to derive the terminal value we have assumed that after the
                                                                                                                                                                   projection horizon, the annual cash flows will increase by
                                                                                                                                                                   approximately 1%, due to the high growth industry XBT Holding
                                                                                                                                                                   Limited operates in and by taking into consideration the current
                                                                                                                                                                   worldwide financial instability.
                                                                                                                                                                   To assess the impact of the choice of the terminal growth rate, we
                                                                                                                                                                   have also carried out a sensitivity analysis using alternative terminal
                                                                                                                                                                   rates.



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                                                         Appendix 1 (Continued)
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                                                                                                               DCF
                                                                                                                                                                                                        Relative Method
                                                         Valuation Methodologies                                                                                                       Methodology




Market multiples valuations                              Valuation methodology- Relative Method                                                                    It should be noted that there are various multiples that are commonly
                                                                                                                                                                   used to value a company. These are:
are usually carried out in                               Market multiples valuations are usually carried out in order to obtain a
                                                         confirmation of the valuations using the DCF models. The multiples                                        ■ Price to Earnings ratio (‘P/E’): Perhaps the most commonly used
order to obtain a
                                                         valuation has some inherent drawbacks, as it does not analyse the                                           investor ratio, is a multiplier on the net income of a company,
confirmation of the                                      financial results of the company but rather uses market indices to                                          showing it’s indicative equity value
valuations using the DCF                                 estimate the value. Still, it is a relatively easy valuation method and                                   ■ Enterprise value to Sales (‘EV/Sales’): The EV/Sales is a
                                                         often helps in drawing meaningful conclusions.                                                              multiplier that is applied to the Sales to obtain the indicative value
models.
                                                                                                                                                                     of the equity value
                                                         For the correct use of multiples, an appropriate sample of companies
An indicative valuation of                               must be selected and the following must be taken into account:                                            ■ Enterprise value to EBIT (‘EV/EBIT’): The EV/EBIT is a multiplier
the companies in the Group                                                                                                                                           that is applied to the EBIT to obtain the indicative value of the
                                                         ■ The sample must refer to companies in the same industry, which                                            equity value
was obtained using the                                     are operating in economies with the same characteristics
                                                                                                                                                                   ■ Enterprise value to EBITDA (‘EV/EBITDA’): The EV/EBITDA is
following multiples, as                                  ■ The sample must include companies with comparable information                                             an alternative multiplier that has the benefit of not being influenced
                                                           (e.g. cost structure, profit margins, etc)                                                                from different depreciation and tax rates
appropriate:
                                                         ■ In addition, it is important to select companies where the maturity of                                          – Therefore, it is proper to be used in different countries where
-    Price to earnings multiple                            the market they are operating is evident                                                                          these rates might be different
                                                         ■ The figures that are taken from the company’s financials or it’s                                                – This multiplier is applied to a company’s EBITDA to give the
-    Enterprise value to Sales                             projections have to be accordingly adjusted. For example, non-                                                    Enterprise Value. In order to derive the equity value, the market
     multiple                                              recurring profit or losses or other one-off items should be eliminated                                            value of debt is subtracted from the enterprise value
                                                           from the whole process
-    Enterprise value to EBIT                                                                                                                                      ■ Price to EBITDA (‘P/EBITDA’): This multiple is applied to the
                                                         Multiples used are generally based on data from listed companies                                            EBITDA to obtain the indicative value of the equity capital
     multiple                                            (‘Coco’) and recent transactions in a comparable sector (‘CoTrans’),
                                                         but with appropriate adjustments after consideration has been given to                                    ■ Price to Sales (‘P/S’): This multiple is applied to the revenue to
-    Enterprise value to                                                                                                                                             obtain the indicative value of the equity capital
                                                         the specific characteristics of the business being valued. The multiples
     EBITDA multiple                                     derived for comparable quoted companies are generally based on                                            ■ Price to EBITDA (‘P/EBITDA’): This multiple is applied to the
                                                         share prices reflective of the trades of small parcels of shares. As                                        EBITDA to obtain the indicative value of the equity capital
-    Price to Sales multiple                             such, they generally can be assumed to include a minority discount.
                                                         Accordingly, when valuing a business en bloc (100%) we would also
     and                                                 reference the multiples achieved in recent mergers and acquisitions,
                                                         where control premium and breadth of purchaser interest are reflected.
-    Price to EBITDA multiple




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                                                                                                               DCF
                                                                                                                                                                                         Relative Method
                                                         Valuation Methodologies                                                                                           Methodology




A marketability discount in                              Marketability discount
the range of 20% - 30% was                               Shares in a private company will typically warrant some level of
                                                         discount for a lack of marketability. The level of discount depends on
assumed depending on the
                                                         the following factors:
company being valued, to
                                                         ■    Potential buyers: the existence of potential buyers could reduce the
reflect that the company’s                                    discount for lack of marketability
shares, contrary to the                                  ■    Size of block of shares: larger blocks have higher marketability
comparable firms used to                                      discounts than smaller blocks
derive the multiples, are not                            ■    Dividends payout ratio: the higher the dividend payout the lower the
                                                              marketability discount, the greater the return that the holders will
publicly traded in a stock
                                                              realize without having to sell the shares
exchange.
                                                         A marketability discount in the range of 20% - 30% was assumed
                                                         depending on the company being valued, to reflect that the company’s
                                                         shares, contrary to the comparable firms used to derive the multiples,
                                                         are not publicly traded in a stock exchange.




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                                                         Appendix 2 – Europe
                                                             ATTORNEYS'   EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                         Projected Income Statement – Organic Growth


Under the Organic Growth                                 The table below shows the actual and projected income statement of XBT Holding Limited subsidiaries in Europe for a period of seven years
scenario of European                                     from 2009 up to 2015 as provided by Management.
operations, in 2013,                                     Net profit for 2013 is assumed to amount $2,6 million and is expected to increase to $6,7 million by 2015.
Management expects                                        Incom e Statem ent of European Operations (Organic Grow th)
revenue to reach $16,1                                                                                                      2009A                 2010A                    2011A    2012A      2013E       2014E     2015E
million, which would                                                                                                         $'000                 $'000                    $'000    $'000      $'000       $'000     $'000
represent an increase of                                  Co-location                                                                               878                 1.551        1.074     1.607       1.968     3.590
                                                          Dedicated Servers                                                                       1.952                 6.216            -    10.662      13.255    11.008
20,2% compared to 2012. By
                                                          Bandw idth                                                                              1.617                 4.889        2.361     3.826       4.719     7.753
2015 revenue are expected                                 Equipments Sale                                                                         1.117                 2.092          986         -           -     1.580
to reach $23,9 million.                                   Other Revenue                                                                              12                     -        8.965         -           -         -
                                                          Revenue                                                           4.360                 5.577                14.749       13.385    16.095      19.942    23.931
EBITDA is expected to
                                                          Cost of Sales                                                    (4.006)               (3.826)               (4.790)      (6.376)   (5.111)     (5.357)   (6.222)
amount to $6,6 million                                    Gross Profit                                                        354                 1.751                 9.959        7.009    10.984      14.586    17.709
(EBITDA margin of 41,3%) in                               Gross Profit %                                                     8,1%                 31,4%                 67,5%        52,4%     68,2%       73,1%     74,0%
2013 and reach the amount                                 Operating Expenses                                                 (580)                 (817)               (1.990)         909    (4.340)     (4.400)   (4.620)
                                                          EBITDA                                                             (226)                  934                 7.969        7.918     6.644      10.185    13.088
of $13,1 million by 2015
                                                          EBITDA %                                                          -5,2%                 16,7%                 54,0%        59,2%     41,3%       51,1%     54,7%
(EBITDA margin of 54,7%).                                 Depreciation & Amortisation                                           -                  (176)                 (745)      (3.063)   (2.933)     (3.700)   (3.885)
                                                          EBIT                                                               (226)                  758                 7.224        4.855     3.711       6.486     9.204
                                                          Finance Expenses                                                    (40)                  (31)                 (184)        (635)     (502)       (814)     (855)
                                                          EBT                                                                (266)                  727                 7.040        4.220     3.209       5.671     8.349
                                                          Corporate Income Tax                                                  -                     -                   (47)        (163)     (642)     (1.134)   (1.670)
                                                          Profit/(loss) for the year                                         (266)                  727                 6.993        4.057     2.567       4.537     6.679
                                                            Source:   Consolidated Financial Statements 2009-2012, Management Projections 2013 - 2015




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                                                         Appendix 2 - US EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                             ATTORNEYS'
                                                         Projected Income Statement – Organic Growth


For US operations,                                       The table below shows the actual and projected consolidated income statement of XBT Holding Limited subsidiaries operating in US under the
Management expects                                       Organic growth scenario for a period of seven years from 2009 up to 2015 as provided by Management.
revenue to reach $24,8                                   Profit for the year 2012 stood at $0,99 million and is expected to significantly increase to $8,4 million by 2013. The decrease of 2012 profit was
                                                         due to the decrease in revenue caused by the lost customer base as a result of the Megaupload closure in January 2012. Revenue in 2013 is
million in 2013, which would                             expected to increase by 35,2% in relation to the previous year. In addition, Management expects obligations with suppliers to be reduced for
represent an increase of                                 2013.
35,2% compared to 2012. In
                                                          Incom e Statem ent of US Operations (Organic Grow th)
2015 revenue is expected to
                                                                                                                            2009A                 2010A                2011A     2012A       2013E       2014E      2015E
reach an amount of $34,2
                                                                                                                             $'000                 $'000                $'000     $'000       $'000       $'000      $'000
million.                                                  Co-location                                                                            1.369                 1.830      1.292      1.568       1.784      6.840
                                                          Dedicated Servers                                                                      2.510                 3.875         20     11.749      14.293     11.969
EBITDA is assumed to
                                                          Bandw idth                                                                             6.948                13.321     17.609     11.405      12.306     14.509
amount to $10,8 million in
                                                          Equipments Sale                                                                          521                 3.475        512          -           -        880
2013 (EBITDA margin 43,6%)                                Other Revenue                                                                             60                     -     (1.108)        59         115          -
and reach $14,8 million by                                Revenue                                                           2.580               11.409                22.501     18.325     24.781      28.498     34.198
2015 (EBITDA margin                                       Cost of Sales                                                    (2.567)              (9.011)              (16.363)   (10.164)   (10.386)    (12.064)   (15.389)
                                                          Gross Profit                                                         13                2.398                 6.138      8.161     14.395      16.434     18.809
43,2%).
                                                          Gross Profit %                                                     0,5%                21,0%                 27,3%      44,5%      58,1%       57,7%      55,0%
                                                          Operating Expenses                                                 (121)                (867)                 (338)    (6.152)    (3.592)     (3.832)    (4.024)
                                                          EBITDA                                                             (108)               1.531                 5.800      2.009     10.803      12.602     14.785
                                                          EBITDA %                                                          -4,2%                13,4%                 25,8%      11,0%      43,6%       44,2%      43,2%
                                                          Depreciation & Amortisation                                           -               (1.284)               (1.488)    (2.107)    (1.864)     (1.866)    (1.959)
                                                          EBIT                                                               (108)                 247                 4.312        (98)     8.939      10.736     12.826
                                                          Finance Expenses                                                    (72)                 (80)                 (611)      (215)      (203)        (24)       (25)
                                                          EBT                                                                (180)                 167                 3.701       (313)     8.737      10.712     12.801
                                                          Corporate Income Tax                                                  -                    -                     -        (37)      (343)     (2.272)    (2.785)
                                                          Profit/(loss) for the year                                         (180)                 167                 3.701       (350)     8.394       8.441     10.016
                                                           Source:   Consolidated Financial Statements 2009-2012, Management Projections 2013 - 2015




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                                                         Appendix 2 - Asia EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                             ATTORNEYS'
                                                         Projected Income Statement – Organic Growth


For Asia operations,                                     The table below shows the actual and projected consolidated income statement of XBT Holding Limited subsidiaries operating in Asia under the
Management expects 2013                                  Organic growth scenario for a period of four years from 2012 up to 2015 as provided by Management. The Asia-located companies started their
                                                         operations in 2012.
revenue to increase by
101,1% compared to 2012.                                  Incom e Statem ent of Asia Operations (Organic Grow th)
This increase will be                                                                                                                                                  2012A    2013E      2014E         2015E
achieved by following an                                                                                                                                                $'000    $'000      $'000         $'000
                                                          Dedicated Servers                                                                                                -    2.389      3.896         3.896
aggressive advertising
                                                          Bandw idth                                                                                                       -      447        774           774
strategy and offering lower                               Other revenue                                                                                               1.410          -          -            -
prices to customers.                                      Revenue                                                                                                     1.410     2.836      4.670         4.670
                                                          Cost of Sales                                                                                                (368)     (847)    (1.251)       (1.251)
Profit for 2013 is assumed at                             Gross Profit                                                                                                1.042     1.989      3.418         3.418
$1,0 million, an increase of                              Gross Profit %                                                                                              73,9%     70,1%      73,2%        73,2%
190% compared to previous                                 Operating Expenses                                                                                           (893)     (663)      (581)         (581)
year. As per the                                          EBITDA                                                                                                        149     1.326      2.837         2.837
                                                          EBITDA %                                                                                                    10,5%     46,8%      60,8%        60,8%
Management, this will be
                                                          Depreciation & Amortisation                                                                                   (96)      (43)       (21)          (21)
achieved by following a                                   EBIT                                                                                                           52     1.283      2.817         2.817
cost-effective strategy.                                  Finance Expenses                                                                                                (8)       (1)        (1)          (1)
                                                          EBT                                                                                                            44     1.282      2.815         2.815
                                                          Corporate Income Tax                                                                                             -     (256)      (563)         (563)
                                                          Profit/(loss) for the year                                                                                     44     1.025      2.252         2.252
                                                            Source:   Consolidated Financial Statements 2012, Management Projections 2013 - 2015




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                                                         Appendix 3
                                                             ATTORNEYS' EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                         Derivation of the Discount Rate – Organic Growth


                                                         A different WACC rate is calculated under each scenario (Organic                                          Tax Rate
                                                         growth and Acquisition growth models). Under the Organic growth
                                                                                                                                                                   Tax rate used is based on the tax rates of the jurisdictions taken into
                                                         model a WACC rate for each location has been calculated as well as
                                                                                                                                                                   account to extract the discount rate per region.
                                                         for the whole Group. The WACC derived under each case is used
                                                         when discounting the free cash flows to present. The tables on the                                        We have used quated staturoty tax rates withoug evaluating the actual
                                                         following pages present the WACC rates for each case. The underlying                                      effective tax rate of each jurisdiction that the Group operates.
                                                         parameters used are discussed below:                                                                      Company Specific Premium
                                                         Risk Free Rate                                                                                            A 1% company specific premium has been used for the organic growth
                                                                                                                                                                   model for European and US located companies. A 2% company
                                                         We have used the yield to maturity of US 10 Year Government bonds
                                                                                                                                                                   specific premium was applied for the organic growth model for Asia
                                                         as at 31 December 2012.
                                                                                                                                                                   located companies since they recently become operational.
                                                         Equity Risk Premium
                                                                                                                                                                   A 2% company specific premium is also applied to acquisition growth
                                                         An Equity risk premium of 5,45% was applied for all geographical                                          scenario as it bears more risk.
                                                         locations, which is based on US mature market.
                                                         Country Risk Premium
                                                         An additional risk premium is added on the equity risk premium in order
                                                         to capture the risk per country. It is based on the Moody's credit rating
                                                         times 1,5 as the equity market is considered riskier than the bond
                                                         market.
                                                         Beta
                                                         Beta was calculated as the average of the main competitors beta
                                                         operating in the industry. The estimation of beta utilised a 6 month
                                                         regression of data. The regression used weekly observations in order
                                                         to reduce the non-trading bias in the beta estimates and the index the
                                                         S&P 500 Index.
                                                         Financing Cost
                                                         Weighted average of the financing interest cost based on the Group’s
                                                         existing debt agreements.




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                                                         Appendix 3 - Europe
                                                             ATTORNEYS'   EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                         Derivation of the Discount Rate – Organic Growth


The concluded WACC for the                                                                                                                                                                                       Weighted
                                                      WACC Calculation-European Operations
Companies located in                                                                                                                                                                                             WACC
Europe stood at 10,54%.                               Param eters                                                                      Cyprus             Netherland       Luxem bourg    Russia           UK
                                                      Return on Risk Free assets                                     Rf                  1,61%                 1,61%             1,61%     1,61%        1,61%
The countries chosen for the
                                                      Country Risk Premium                                         CRP                     15%                    0%                0%     2,25%        0,00%
calculation of the WACC in                            Equity Risk Premium of mature market                          ERP                  5,45%                 5,45%             5,45%     5,45%        5,45%
Europe are those countries                            Equity Risk Prem ium                                         MRP                  20,45%                 5,45%             5,45%     7,70%        5,45%
with the highest revenue
                                                      Debt/Equity Capital Structure                                   D/E               125,0%                    25,5%           0,0%     0,0%          0,0%
generation.
                                                      Tax Rate                                                          T                12,5%                      25%          28,8%    20,0%         23,0%
The discount rate is                                  Unlevered Beta                                                  Bu                 0,9009                   0,9009        0,9009    0,9009       0,9009
calculated as the weighted                            Levered beta                                                     Bl                1,8858                   1,0729        0,9009    0,9009       0,9009
average of revenue                                    Finance cost                                                                      10,39%                    6,00%          0,00%    0,00%         0,00%
generated from the countries
presented on the table to the                         D/(D+E)                                                                               56%                      20%           0%        0%           0%
                                                      E/(D+E)                                                                               44%                      80%         100%      100%         100%
left.

                                                      Company specific premium                                                              1%                       1%             1%        1%           1%
                                                      Cost of equity                                                  ke                41,17%                    8,45%          7,52%     9,54%        7,52%
                                                      Cost of debt                                                    kd                 9,09%                    4,50%             n/a       n/a          n/a

                                                      WACC                                                                              23,35%                    7,65%          7,52%     9,54%        7,52%        10,54%
                                                        Source:   KPMG Analysis




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                                                         Appendix 3 - US EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                             ATTORNEYS'
                                                         Derivation of the Discount Rate – Organic Growth


The WACC of 8,67% is used
                                                                                                                                                                                                          Weighted
for the US operations.                                    WACC Calculation-US Operations
                                                                                                                                                                                                          WACC
Again, the calculated rate is                             Param eters                                                                        USA               Canada      Panam a    Brazil    Mexico
based on the weighted                                     Return on Risk Free assets                                     Rf                1,61%                1,61%        1,61%    1,61%      1,61%
                                                          Country Risk Premium                                         CRP                    0%                   0%        2,63%    2,63%      2,25%
average based on revenue of
                                                          Equity Risk Premium                                           ERP                5,45%                5,45%        5,45%    5,45%      5,45%
the countries with the most
                                                          Market Risk Prem ium                                         MRP                 5,45%                5,45%        8,08%    8,08%      7,70%
significant revenue
generation within US.                                     Debt/Equity Capital Structure                                  D/E                 1,5%                  0,0%       0,0%     0,0%       0,0%
                                                          Tax Rate                                                         T                  40%                   26%        25%      34%        30%
                                                          Unlevered Beta                                                  Bu               0,9009                0,9009     0,9009    0,9009    0,9009

                                                          Levered beta                                                     Bl              0,9089                0,9009     0,9009    0,9009    0,9009
                                                          Finance cost                                                                     8,60%                  0,00%      0,00%    0,00%      0,00%

                                                          D/(D+E)                                                                           1,5%                  0,0%        0,0%      0,0%      0,0%
                                                          E/(D+E)                                                                          98,5%                100,0%      100,0%    100,0%    100,0%

                                                          Company specific premium                                                             1%                    1%         1%        1%        1%
                                                          Cost of equity                                                  ke                7,56%                 7,52%      9,89%     9,89%     9,54%
                                                          Cost of debt                                                    kd                5,16%                    n/a        n/a       n/a       n/a

                                                          WACC                                                                              7,52%                 7,52%      9,89%     9,89%     9,54%           8,67%
                                                            Source:   KPMG Analysis




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                                                         Appendix 3 - Asia EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                             ATTORNEYS'
                                                         Derivation of the Discount Rate – Organic Growth


Revenue from Asia-located
                                                                                                                                                                   Weighted
companies is generated                                        WACC Calculation-Asia Operations
                                                                                                                                                                   WACC
from operation in India.
                                                              Param eter                                                                                   India
Therefore, the discount rate                                  Return on Risk Free assets                                             Rf                   1,61%
                                                              Country Risk Premium                                                  CRP                      3%
used for the Asia operations
                                                              Equity Risk Premium                                                   ERP                   5,45%
is based on India WACC.
                                                              Market Risk Prem ium                                                  MRP                   8,45%

                                                              Debt/Equity Capital Structure                                           D/E                  0,0%
                                                              Tax Rate                                                                  T                   32%
                                                              Unlevered Beta                                                           Bu                0,9009

                                                              Levered beta                                                              Bl               0,9009
                                                              Finance cost                                                                                0,00%

                                                              D/(D+E)                                                                                     0,0%
                                                              E/(D+E)                                                                                   100,0%

                                                              Company specific premium                                                                      2%
                                                              Cost of equity                                                           ke               11,22%
                                                              Cost of debt                                                             kd                   n/a

                                                              WACC                                                                                      11,22%             11,22%
                                                                Source:   KPMG Analysis




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                                                         Appendix 3 - Consolidated
                                                             ATTORNEYS'   EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                         Derivation of the Discount Rate – Organic Growth


The discount rate used to                                 Group's WACC                                                                                             Group’s WACC
find the equity value of the                                                                                                                                       The Group’s WACC was calculated by weighting each location’s
                                                                                                                       Revenue                      WACC
Group as at 31 December                                                                                                                                            WACC rate by the respective Revenue. Under this approach, the
                                                          European operations                                         13.385.337                   10,54%          WACC rate for the Group amounts to 9,54% and is used to discount
2012 is calculated at 9,54%.                              US operations                                               18.325.331                    8,67%          the whole Group’s free cash flows to present value.
                                                          Asia operations                                              1.410.202                   11,22%
                                                                                                                      33.120.871                    9,54%
                                                           Source:   KPMG Analysis




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                                                         Appendix 3
                                                             ATTORNEYS' EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                         Derivation of the Discount Rate – Acquisition Growth


The concluded WACC used                                                                                                                                                                                                      Weighted
                                                        WACC Calculation-Group
under Acquisition Growth                                                                                                                                                                                                       WACC
Scenario stood at 8,93%.                                Param eters                                       Germ any               UK        Thailand Indonesia              Vietnam    Brazil Colum bia Argentina Hong Kong
                                                        Return on Risk Free assets                Rf         1,61%            1,61%          1,61%      1,61%                 1,61%   1,61%     1,61%      1,61%     1,61%      1,61%
                                                        Country Risk Premium                    CRP          0,00%            0,00%          2,25%      3,00%                 6,00%   2,63%     3,00%      9,00%     0,38%      0,34%
                                                        Equity Risk Premium                      ERP         5,45%            5,45%          5,45%      5,45%                 5,45%   5,45%     5,45%      5,45%     5,45%      5,45%
                                                        Market Risk Prem ium                    MRP          5,45%            5,45%          7,70%      8,45%                11,45%   8,08%      8,45%    14,45%     5,83%      5,79%

                                                        Debt/Equity Capital Structure             D/E                                                                                                                           5,26%
                                                        Tax Rate                                    T         29,55%           23%              20%              25%           25%      34%      25%        35%       17%      26,23%
                                                        Unlevered Beta                            Bu           0,9009        0,9009           0,9009           0,9009        0,9009   0,9009   0,9009     0,9009    0,9009      0,9009
                                                        Levered beta                               Bl                                                                                                                           0,9359
                                                        Finance cost                                                                                                                                                            9,62%

                                                        D/(D+E)                                                                                                                                                                   5%
                                                        E/(D+E)                                                                                                                                                                  95%

                                                        Company specific premium                                                                                                                                                   2%
                                                        Cost of equity                             ke                                                                                                                           9,03%
                                                        Cost of debt                               kd                                                                                                                           7,10%

                                                        WACC                                                                                                                                                                    8,93%
                                                          Source:   KPMG Analysis

                                                         Country Risk Premium and Tax rate
                                                         The Country Risk Premium used in the WACC calculation was weighted on DC (Germany and UK) and EGC (Hong Kong, Thailand, Indonesia,
                                                         Vietnam, Brazil, Columbia, Argentina) revenue levels, provided by Management as the possible targets for their acquisition strategy. The same
                                                         approach was used in calculating the Tax rate to be used in the WACC calculation.
                                                         The concluded WACC used under Acquisition Growth Scenario stood at 8,93%.




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                                                         Appendix 4
                                                             ATTORNEYS' EYES ONLY PURSUANT TO PROTECTIVE ORDER
                                                         Beta Factor


The concluded beta used on                                Beta Calculation
the calculation of WACC
                                                          Com parable Com panies                                                          D/E                 Tax Rate     Unlevered Beta
stood at 0,9009.                                          Akamai Technologies Inc                                                       0,0%                    40,0%              1,2756
                                                          Dupont Fabros Technology                                                     41,1%                      40,0%           0,9228
                                                          Equinix Inc                                                                124,4%                       40,0%           0,6528
                                                          Interxion Holding Nv                                                         76,7%                      25,0%           0,5223
                                                          Iomart Group Plc                                                              5,5%                      24,0%           0,6596
                                                          Rackspace Hosting Inc                                                        14,9%                      40,0%           1,3721
                                                          Average                                                                                                                 0,9009
                                                            Source:   Bloomberg, KPMG Analysis




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